Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 1 of 137




                       COMPOSITE
                       EXHIBIT “B”
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 2 of 137

                                                  '         4

                                                                IN THE CIRCUIT COURT OF THE 1lTH
                                                                JUDICIAL CIRCUIT IN AND FOR MIAMI-
                                                                DADE COUNTY, FLORIDA

                                                                GENERAL JURISDICTION

    PEDRO SANTIAGO,                                             CASENO.     10-24746Ck08

    VS.                                                               CIVIL ACTION SUMMONS

    CITY OF HIALEAH, a Political
    Subdivision of the State of Florida,                           5 4 -10        12: ~ T B W
           Defendant.

    THE STATE OF FLORIDA:
                                              1                 cPs+          165 3
    To Each Sheriff of Said State:

           YOU ARE HEREBY COMMANDED to serve this Summons, Complaint along with
    Plaintiffs First Request for Production, First Set of Interrogatories, and Notice of Deposition by
    serving:
                                  Mayor Julio Robaina
                                  City of Hialeah City Hall
                                  501 Palm Avenue, #A
                                  Hialeah, Florida 33010

    Each defendant is required to serve written defenses to the complaint or petition on Plaintiffs
    attorney, to wit:
                                 GONZALO R. DORTA, P.A.
    whose address is:            334 Minorca Avenue
                                 Coral Gables, Florida 33134

    Within thirty (30) days after service of this summons on that defendant, exclusive of the day of
    service, and to file the original of the defenses with the Clerk of this Court either before service on
    Plaintiffs attorney to immediately thereafter. If a defendant fails to do so, a default will be entered
    against that defendant for the relief demanded in the complaint or petition.

     DATED thi@        2 6 2ay. of                              ,2010.


                                                      By:
                                                                    --   n i ~BETHEL
                                                                as Deputy Clerk
                                                                               t ~


                                                                                              RECEIVED
                                                                                              MAY 0 5 2010
                                                                                            WYOR5 OFFICE
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 3 of 137




                                                         IN THE CIRCUIT COURT OF THE 1lTH
                                                         JUDICIAL CIRCUIT IN AND FOR
                                                         MIAMI- DADE COUNTY, FLORIDA

                                                         GENERAL JURISDICTION

   PEDRO SANTIAGO,

           PLArNTIFF,

   VS.                                                        COMPLAINT FOR DAMAGES

   CITY OF HIALEAH, a Political
   Subdivision of the State of Florida,

           Defendant.
                                            I

           PLAINTIFF, PEDRO SANTIAGO, by and through his undersigned counsel, hereby sues

   the CITY OF HIALEAH a Political Subdivision of the State of Florida and alleges as follows:

                                      GENERAL ALLEGATION

           1.      This is an action for bodily injuries, which arose from the excessive and

   unreasonable use of force by police officers of the CITY OF HIALEAH.

           2.      Plaintiff seeks damages in excess of $1 5,000.00, exclusive of interest and costs.

           3.      Venue is proper in Miami-Dade County, Florida because the cause action accrued

    in the Hialeah, Florida and the incident in question similarly occurred in Hialeah, Florida.

           4.      All conditions precedent to the filing of this claim have been satisfied in

    accordance with the presuit statutory requirements of this State by the PLAINTIFF having

    served and the CITY OF HIALEAH having received the requisite presuit notice, which was also

    served on all appropriate agencies andlor entities as reflected in composite Exhibit "A."
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 4 of 137




                                   IDENTIFICATION OF PARTIES

           5.     PEDRO SANTIAGO, ("PLAINTIFF") is sui juris and a resident of Miami-Dade

   County, Florida.

          6.      The CITY OF HIALEAH (the, "CITY") is an incorporated City and Political

   Subdivision of the State of Florida, carrying on its business in Hialeah, Florida, and employed

   the hereinafter identified police officers who used excessive and unreasonable force on the

   PLAINTIFF giving rise to the cause of action herein.

                          FACTS GIVING RISE TO CAUSE OF ACTION

           7.      The PLAINTIFF re-alleges hereunder paragraphs 1-6 and further alleges the

   following facts giving rise to this suit.

           8.      On or about September 28, 2007, at approximately 4:30 p.m., the PLAINTIFF,

   after finishing work for the day, was walking to a bus stop located at approximately at 2899 West

   Second Avenue, in the city of Hialeah, Florida. As we walked to the bus stop, PLAINTIFF had

   an involuntary epileptic seizure causing him to go into convulsion and lose control over his

   bodily movements, as he uncontrollably shaking and jerking and flinging his arms and legs.

   Plaintiff fell to the ground while in seizure.

           9.      CITY police officers ("Officers") were dispatched to the scene.

           10.     When the Officers arrived at the scene, they encountered the PLAINTIFF who

   was still seizing, having convulsions and uncontrollably shaking, jerking, and moving his arms

   and legs while he remained on the ground.

           11.     Upon information and believe, at least three of the Officers fkom the CITY,

    approached the PLAINTIFF as he was in an epileptic seizure on the ground and began to

    command PLAINTIFF to get on his feet. PLAINTIFF was unresponsive to these commands and
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 5 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 6 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 7 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 8 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 9 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 10 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 11 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 12 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 13 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 14 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 15 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 16 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 17 of 137




                                                       IN THE CIRCUIT COURT OF THE 1 lTH
                                                       JUDICIAL CIRCUIT IN AND FOR
                                                       MIAMI- DADE COUNTY, FLORIDA

                                                       GENERAL JURISDICTION

   PEDRO SANTIAGO,

           PLAINTIFF,

   VS.


   CITY OF HIALEAH, a Political
   Subdivision of the State of Florida,

           Defendant.


      PLAINTIFF'S NOTICE OF PROPOUNDING FIRST SET OF INTERROGATORIES
                       TO DEFENDANT, CITY OF HIALEAH

           The Plaintiff, PEDRO SANTIAGO (hereinafter "PLAINTIFF") by and through his

   undersigned counsel, hereby files this notice of propounding this first set of interrogatories

   directed to Defendant, CITY OF HIALEAH (hereinafter "CITY") to be answered in the manner

    and time prescribed by the Florida Rules of Civil Procedure.

                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed this     &
    day of April, 20 10 and served together with the Complaint.

                                                        GONZALO R. DORTA, P.A.
                                                        334 Minorca Avenue
                                                        Coral Gables, Florida 33 134




                                                 By:
                                                   -_/'
                                                     Florida ~ a r ' g o 650269
                                                                         .
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 18 of 137




         FIRST SET OF INTERROGATOIUES TO DEFENDANT, CITY OF HIALEAH

    1.    Disclose the name and job title of the person answering these interrogatories on behalf of
          the City of Hialeah including the names and addresses and job title or affiliation of all
          persons assisting the City in answering these interrogatories.

          ANSWER:




    2.    Explain in detail how the subject incident occurred and what actions the responding City
          of Hialeah police officers took to avoid tasering the Plaintiff.

          ANSWER:
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 19 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 20 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 21 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 22 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 23 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 24 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 25 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 26 of 137




                                                           IN THE CIRCUIT COURT OF THE 1lTH
                                                           JUDICIAL CIRCUIT IN AND FOR
                                                           MIAMI- DADE COUNTY, FLORIDA

                                                           GENERAL JURISDICTION

    PEDRO SANTIAGO,

           PLAINTIFF,

    VS.


    CITY OF HIALEAH, a Political
    Subdivision of the State of Florida,

           Defendant.
                                               1

                         PLAINTIFF'S FIRST REQUEST FOR PRODUCTION
                              TO DEFENDANT, CITY OF HIALEAH

           COMES NOW, the Plaintiff, PEDRO SANTIAGO, by and through his undersigned

    attorney, pursuant to Rule 1.350, Florida Rules of Civil Procedure, hereby requests that

    Defendant, CITY OF HIALEAH, (hereinafter "CITY"), produce the following documents to

    inspect and/or produce copies of the documents described below, within forty-five (45) days

    after service, hereof, at the Law Office of Gonzalo R. Dorta, P.A., 334 Minorca Avenue, Miami,

    Florida 33 134.

                                       DOCUMENTS REQUESTED

            1.        Produce the personnel file of each individual officer that responded to the incident

    involving the Plaintiff on September 28, 2007 at 2899 West 2"dAvenue, Hialeah, FL (hereinafter

    "Incident").

            2.        Produce all records generated by the City of Hialeah Police Department in

    connection with the incident.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 27 of 137




           3.      Produce all police department manuals, protocols, training manuals, videos, inter-

    office memorandums and/or intra-office memorandums, bulletins relating, pertaining, and/or

    training its police officers on the proper use of taser guns.

           4.      Produce all training records, including recommendation certificates, disciplinary

    action records, records of demotion, records of promotion, department and/or training

    evaluations on each of the officers involved in the Incident.

            5.     Produce a copy of the results of all pre-employment medical and/or mental

    examinations performed on each of the officers involved in the Incident.

            6.     Produce a copy of all reports arising from any internal investigation of the police

    officers behavior, conduct andor work in connection with the Incident.

            7.     Produce all department manuals, bulletins, books, procedures, memorandums,

    textbooks, videos, CDs, and all other written materials ever used by the City's Police Department

    to train, educate its police force on how to detect andlor react to suspect's suffering from a

    medical condition, epilepsy, epileptic seizure andlor manifesting neurological, physical andor

    mental manifestation of an illness, impairment, health condition and/or physical ailment which

    hinders ,and/or prevents the suspect from coherently and responsibly adhering to commands

    and/or directives from the responding andlor arresting officers.

            8.      All training manuals, written materials, department protocols and/or procedures

    on how responding police officers are to approach, treat, react and handle a suspect manifesting a

    seizure, convulsions andlor cardiac arrest or other medical conditions, resulting in uncontrollable

    body movements.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 28 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 29 of 137




                                                                             IN THE CIRCUIT COURT OF THE 1 lTH
                                                                             JUDICIAL CIRCUIT      AND FOR
                                                                             MIAMI- DADE COUNTY, FLORIDA

                                                                             GENERAL JURISDICTION

      PEDRO SANTIAGO,                                                        CASE NO.
                                                                                                it8-24i46CA08
               PLAINTIFF,

      VS.

      CITY OF HIALEAH, a Political
      Subdivision of the State of Florida,

               Defendant.


                                    NOTICE OF TAKING DEPOSITION OF
                               DESIGNATED CORPORATE REPRESENTATIVE(S1

               PLEASE TAKE NOTICE that the Plaintiff, by and through his undersigned counsel,
      will take the deposition of the following individual(s) at the date, time and place indicated below:                                     \   \c/


   I Corporate Representative(s)                    I Tuesday, October 5,2010                    1 Ofiice of the Undersigned                   u-8
   I Designated by Defendant,                       I at 11:30 a.m.                              I
   I CITY OF HIALEAH
          In accordance with the Americans with Disabilities Act of 1990, persons needing a special
          accommodation to participate in this proceeding should contact Janel Diamond, Gonzalo R. Dorta, P.A.
          at 305 441-2299 and facsimile 305 441-8849.

      *         If an interpreter is needed, please advise at least five (5) business days in advance of the
                deposition date.
      **        If more than one corporate representative will be produced in light of the various subject
                matters of inquiry, please advise five (5) business days before the deposition date and in
                so doing, provide a written disclosure as to the subject matter andfor subject matters that

      ' Corporate Representative(s) designated by CITY OF HIALEAH to be the most knowledgeable with respect to the type, scope,
      and substance of all training provided to the responding officers relating to the use of taser guns; training, educating City's police
      officers, including the involved officers on how to confront, deal, subdue, control, effectuate and arrest and/or take into custody a
      suspect, citizen, individual exhibiting, manifesting signs of mental illness, cognitive imbalance, psychological, psychiatric
      problems, physical handicap, experiencing a seizure, convulsion; job performance of each involved officer; personnel history on
      each involved officer; and facts, circumstances surrounding the subject incident.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 30 of 137




             each designated representative will cover in order to properly accommodate your
             representatives and you.

             The deposition will be under oath and conducted pursuant to the Florida Rules of Civil
      Procedure before an associate or deputy court reporter of Network Reporting, or their duly
      designated representative, who is not of counsel to any of the parties or interested in the outcome
      of the case. The deposition will continue from day to day until completed.
             This deposition is being taken for the purpose of discovery, for use at trial, or for such
      other purposes as are permitted under the applicable and governing rules.
                                          CERTIFICATE OF SERVICE
             I HEREBY CERTIFY that a true and correct copy of the foregoing was filed this 23rd
      day of April, 20 10 and served together with the Complaint.
                                                           GONZALO R. DORTA, P.A.
                                                           334 Minorca Avenue



                                                                         ?-:,
                                                                         b.7.
                                                                          1

                                                   By:                "..--,. ..   ,
                                                           GON~KP.            &RTA
                                                           FI@Y
                                                              ar Nojy0269

      cc:    Network Reporting
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 31 of 137



                                                IN THE CIRCUIT COURT OF THE
                                                1lthJUDICIAL CIRCUIT IN AND FOR
                                                MIAMI-DADE COUNTY, FLORIDA

                                                 GENERAL JURISDICTION DIVISION

                                                 CASE NO. 10-24746 CA 08

     PEDRO SANTIAGO,

            Plaintiff,
     VS .


     THE CITY OF HIALEAH, a Political
     Subdivision of the State of Florida,

            Defendants.


                            NOTICE O F 768.28 (7) TIME PERIOD
                               NOTICE O F APPEARANCE

              Defendant, CITY O F HLALEAH, puts all parties on notice of the provisions of
      section 768.28 (7), Florida Statutes, which provide that it shall have 30 days from the
      date of service upon an agency head within which to plead. The undersigned gives notice
      of appearance on behalf of the CITY O F HIALEAH, in this cause.

                                 CERTIFICATE O F SERVICE

            1 HEREBY CERTIFY that a true and correct copy of the above and foregoing has
      been furnished by mail this 7th day of May, 2010 to: GONZALO R DORTA,
      ESQUIRE, Gonzalo Dorta, P.A., 334 Minorca Avenue, Coral Gables, FL 33 134.

                                                 William M. Grodnick, City Attorney
                                                 City of Hialeah




                                          By:

                                                 Fla. Bar No. 151680
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 32 of 137




                                                     IN THE CIRCUIT COURT OF THE
                                                     1l&JUDICIAL CIRCUIT IN AND FOR
                                                     MIAMI-DADE COUNTY, FLORIDA

         PEDRO SANTIAGO,                             GENERAL JURISDICTION DIVISION

                Plaintiff,                           CASE NO. 10-24746 CA 08



         THE CITY OF HIALEAH, a Political
         Subdivision of the State of Florida,

                Defendants.



                                   NOTICE O F UNAVAILABILITY

            PLEASE TAKE NOTICE that the undersigned attorney will be on vacation during

         the period of June 25,20 10 through July 13,20 10.

            Counsel respectfully requests that no trials, hearings, depositions, discovery or any

         other matters be scheduled or rescheduled in this case during the aforementioned period.

                                     CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the above and foregoing has
         been furnished by mail this 7th day of May, 2010 to: GONZALO R DORTA,
         ESQUIRE, Gonzalo Dorta, P.A., 334 Minorca Avenue, Coral Gables, FL 33 134.

                                                      Alan E. Krueger
                                                      Assistant City Attorney
                                                      50 1 Palm Avenue - Fourth Floor
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 33 of 137




                                                IN THE CIRCUIT COURT OF THE 11TH
                                                JUDICIAL CIRCUIT IN AND FOR
                                                MIAMI-DADE COUNTY, FLORIDA

   PEDRO SANTIAGO,                              GENERAL JURISDICTION DIVISION

          Plaintiff,                            CASE NO. 10-24746 CA 08
   VS.

   THE CITY OF HIXEAH, a Political
   Subdivision of the State of Florida,

          Defendants.
                                           I
                         DEFENDANT, CITY OF HIALEAH, NOTICE OF
                            PRODUCTION FROM NON-PARTY

          YOU ARE HEREBY NOTIFED that after ten (10) days from the date of service of this
   Notice, the undersigned will apply to the Clerk of this Court for issuance of the attached
   subpoena(s) directed to:
   a.     MRCI Dr. Merredith R Lowe;
   b.     RCIEpilepsy Foundation of America, Inc.;
   c.     RC/Florida Department of Law Enforcement;
   d.     RC/Florida Dept. of Highway Safety & Motor Vehicles; and
   e.     RCIHialeah Convalescent Home, Inc.

   who are not parties, to produce the items listed at the time and place specified in the subpoena.
                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been
   fiu-nished by facsimile and U.S. Regular Mail this 13th day of Mav, 2010 to: GONZALO R
   DORTA, ESQUIRE, Gonzalo R. Dorta, P.A., 334 Minorca Avenue, Coral Gables, FL 33 134.

                                                Alan E. Krueger
                                                Assistant City Attorney
                                                50 1 Palm Avenue - Fourth Floor
                                                Hialeah, Florida 330




                                                        FBN 151680
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 34 of 137




                                               IN THE ClRCUIT COURT OF THE 11TH
                                               JUDICIAL ClRCUIT IN AND FOR
                                               W - D A D E C O L J Y , FLORIDA

                                               GENERAL JURISDICTION DIVISION

                                               CASE NO. 10-24746 CA 08

   PEDRO SANTIAGO,

          Plaintiff,                                  SUBPOENA DUCES TECUM
   VS.                                                FOR PRODUCTION WITHOUT
                                                      DEPOSITION
   THE CITY OF HIALEAH, a Political
   Subdivision of the State of Florida,

          Defendant.


   THE STATE OF FLORIDA

   TO:    Employment Records Custodian
          Hialeah Convalescent Home, Inc,
          c/oHialeah Enterprise, LLC.
          By service on its registered agent
          CT Corporation
          1200 S. Pine Island Road, Ste. 250
          Plantation, FL 33324

               (NO APPEARANCE NECESSARY IF RECORDS ARE MAILED IN.)

           YOU ARE COMMANDED to appear at the ofice of the City Attorney, City of Hialeah, at
   501 Palm Avenue, Fourth Floor, Hialeah, Florida 33010, on Tuesday, June 1,2010, at 10:30 a.m.,
   and to have with you (or mail in) at that time and place the following:

          a.           Any and all personnel records, application for employment,
                       correspondence and/or memoranda, records relating to reviews and/or
                       promotions, workers' compensation records andlor claims, insurance
                       records andlor claims, pre-employment physical(s)/medicals, time cards,
                       time sheets, records relating to lost wages and/or days absent, salary
                       records, payroll records, W-2 forms, W-4 forms, injury forms, including
                       but not limited to any and all documents and/or records pertaining to
                       employment of: PEDRO SANTIAGO aka PEDRO SANTANA aka
                       PEDRO SANTANA SANTIAGO aka PEDRO SANTIAGO
                       SANTANA; S.S.N.:                 ; D/O/B:
                       Any and all rules, regulations and policies applicable to employing
                       nursing and/or medical personnel with a neurological dysfunction [i.e.
                       epileptic seizures] who have or may have patient care responsibilities.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 35 of 137

   Subpoena Duces Tecum
   Without Deposition

          c.           Any and all rules, regulations and policies applicable to nursing and/or
                       medical personnel who suffer from a neurological dysfunction [i.e.
                       epileptic seizures] and who are involved directly or indirectly with the
                       care of patients in your facility.
                       Any and all rules, regulations and policies regarding disclosure by
                       nurses and/or medical staff regarding any medical condition that may
                       affect that employee's work or which require special accommodation by
                       your institution.
                       All lawsuits naming Hialeah Convalescent Home, Inc, Hialeah
                       Enterprise, LLC and/or any of its nurses, doctors or employees as
                       Plaintiff(s) for the treatment and/or care of a patient attended by
                       Plaintiff, Pedro Santiago.


          This Subpoena requires production of your complete file contents. You are to produce each
   and every piece of paper contained in your file regarding the above individual, whether or not
   prepared by you. Thls M e r includes telephone messages, letters from attorneys, letters from the
   above individual, or from any other source. You are not permitted to edlt or delete items. Failure to
   comply fully may result in court sanctions.

           If the costs of preparation and reproduction exceed One Hundred ($100.00) Dollars
   you must contact the City Attorney's Office before forwarding the requested documents. If
   not, the City Attorney's Office may not satisfy the full amount requested.


               ASSURANCE OF NOTIFICATION REOURED BY HIPPAA SECTION 164.512

               1. The subpoenaing party made a good faith attempt to provide written notice to the
                  plaintiff.
               2. The Notice was sufficient to permit the individual to object.
               3. The time for the individual to object expired.
               4. No objection were filed or all objections were resolved in favor of disclosure, in
                  compliance with 45 C.F.R Sec 164.512 (eW1).



                   These items will be inspected and may be copied at that time. You will not be
   required to surrender the original items. You may comply with this subpoena by providing legible
   copies of the items to be produced to the attorney whose name appears on this subpoena on or
   before the scheduled date of production. You may condition the preparation of the copies upon the
   payment in advance of the reasonable cost of preparation. You may mail or deliver the copies to the
   attorney whose name appears on this subpoena and thereby eliminate your appearance at the time
   and place specified above. You have the right to object to the production pursuant to this subpoena
   at any time before the production by giving written notice to the attorney whose name appears on
   the subpoena.

          If you fail to:
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 36 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 37 of 137




                                               IN THE CIRCUIT COURT OF THE 11TH
                                               JLTDICIAL CIRCUIT IN AND FOR
                                               MIAMI-DADE COUNTY, FLORIDA

                                               GENERAL JURISDICTION DIVISION

                                               CASE NO. 10-24746 CA 08

   PEDRO SANTIAGO,

           Plaintiff,                                  SUBPOENA DUCES KECUM
   VS.                                                 FOR PRODUCTION WITHOUT
                                                       DEPOSITION
   THE CITY OF HIALEAH, a Political
   Subdivision of the State of Florida,

           Defendant.
                                                   1

   THE STATE OF FLORIDA

   TO:     Records Custodian
           Epilepsy Foundation of America, Inc.
           By service on its registered agent
           CT Corporation
           1200 S. Pine Island Road, Ste. 250
           Plantation, FL 33324

               (NO APPEARANCE NECESSARY IF RECORDS ARE MAILED IN.)

            YOU ARE COMMANDED to appear at the office of the City Attorney, City of Hialeah, at
    501 Palm Avenue, Fourth Floor, Hialeah, Florida 33010, on Tuesday, June 1,2010, at 11:OO a.m.,
    and to have with you (or mail in) at that time and place the following:

               a. Any and all documentation, including but not limited to, studies, statistics,
                  and research conducted by your organization or on behalf of the Epilepsy
                  Foundation of America that indicates the number of epileptic seizures that
                  occur yearly in the City of Hialeah.
               b. Any and all communications between Plaintiff, Pedro Santiago aka Pedro
                  Santana aka Pedro Santiago Santana aka Pedro Santana Santiago, and/or
                  his representative(s) or lawyer(s) and the Epilepsy Foundation of America,
                  Inc. regarding the subject lawsuit
               c. Any and all communications between Plaintiff, Pedro Santiago aka Pedro
                  Santana aka Pedro Santiago Santana aka Pedro Santana Santiago, and/or
                  his representative(s) or lawyer(s) and the Epilepsy Foundation of America,
                  Inc. regarding Miami-Dade Criminal Case No.
               d. Any and all documents evidencing payment of attorney's fees by the
                  Epilepsy Foundation of America to Gonzalo Dorta, P.A., the Law Offices of
                  Roberto Pertierra, PA. or any other attorney representing Plaintiff, Pedro
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 38 of 137

    Subpoena Duces Tecum
    Without Deposition

                   Santiago aka Pedro Santana aka Pedro Santiago Santana aka Pedro
                   Santana Santiago.
                   Any form agreements for representing individuals with epilepsy or other
                   neurological dysfunctions in lawsuits against federal, state, county or
                   municipal governments.
                   Any and all documents [i.e. written studies, reports, research, summaries,
                   articles] on epileptics' interaction with police in the possession of the
                   Epilepsy Foundation of America.
                   List of the names of any and all doctors that the Epilepsy Foundation has
                   referred to Plaintifi attorneys suing state, county, federal or municipal
                   governments on behalf of a Plaintiff suffering from epilepsy.
                   All documentation in your possession evidencing that any given body
                   movement that occurs by an individual a t some point during a n encounter
                   with police is a n epileptic seizure and can be determine to be involuntary
                   and beyond the control of the individual.
                   Any documentation that would determine a t what point in the moments
                   preceding, including and subsequent to a n epileptic seizure, a police officer
                   encountering an epileptic should be able to distinguish voluntary from
                   involuntary movements.
                   Any and all resources, documents, training manuals, videos and/or
                   photographs disseminated to law enforcement agencies by the Epilepsy
                   Foundation to educate law enforcement officers on how to differentiate a n
                   individual suffering from a n epileptic seizure from a violent subject not
                   obeying the commands of an officer and resisting arrest with violence.
                   Any and all documentation pertaining to communications from the
                   Epilepsy Foundation or persons acting on its behalf to the City of Hialeah
                   and/or its police department that alert or substantiate the existence of a n
                   alleged problem in the manner in which Hialeah Police Officers respond to
                   epileptics.
                   Any and all documentation pertaining to communications from City of
                   Hialeah and/or its police department to the Epilepsy Foundation or persons
                   acting on its behalf seeking information on the Foundation's
                   recommendations regarding the appropriate manner in which police
                   off~cersshould be encouraged to respond to epileptics.

            If the costs of preparation and reproduction exceed One Hundred ($100.00) Dollars
    you must contact the City Attorney's Office before forwarding the requested documents. If
    not, the City Attorney's Office may not satisfy the full amount requested.


              ASSURANCE O F NOTIFICATION REQURED BY HIPPAA SECTION 164.512

              1. The subpoenaing party made a good faith attempt to provide written notice to the
                 plaintiff.
              2. The Notice was sufilcient to permit the individual to object
              3. The time for the individual to object expired.
              4. No objection were filed or all objections were resolved in favor of disclosure, in
                 compliance with 45 C.F.R Sec. 164.512 (exl).
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 39 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 40 of 137




                                                IN THE CIRCUIT COURT OF THE 1lTH
                                                JLDICIAL CIRCUIT IN AND FOR
                                                MIAMT-DADE COUNTY, FLORIDA

                                                GENERAL JURISDICTION DIVISION

                                                CASE NO. 10-24746 CA 08

   PEDRO SANTIAGO,

          Plaintiff,                                   SUBPOENA DUCES TECLM
   VS.                                                 FOR PRODUCTION WITHOUT
                                                       DEPOSITION
   THE CITY OF HIALEAH, a Political
   Subdivision of the State of Florida,

          Defendant.


   THE STATE OF FLORIDA

   TO:    Records Custodian
          Florida Department of Law Enforcement
          2331 Phillips Raod
          Tallahassee, FL 32308


               (NO APPEARANCE NECESSARY IF RECORDS ARE MAILED IN.)

           YOU ARE COMMANDED to appear at the office of the City Attorney, City of Hialeah, at
   501 Palm Avenue, Fourth Floor, Hialeah, Florida 33010, on Tuesday, June 1,2010, at 11:30 a.m.,
   and to have with you (or mail in) at that time and place the following:

          a.           Complete Criminal History re: PEDRO SANTIAGO aka PEDRO
                       SANTANA aka PEDRO SANTANA SANTIAGO aka PEDRO
                       SANTIAGO SANTANA; S.S.N.:                           D/O/B:
                       Drivers License No.      -
          b.           Any and all documents in your agency's possession applicable to Miami-
                       Dade Criminal Case No.              State of Florida vs. Pedro Santiago.
          c            Any and all correspondence, email transmittals, forms, facsimiles,
                       motions filed andlor provided by PEDRO SANTIAGO andlor his
                       attorney or agent, to your agency regarding the expungement of Miami-
                       Dade Criminal Case No.
          d.           All documents generated by your agency to determine if Miami-Dade
                       Criminal Case No.             was eligible for expungement;
          e.           Your agency's complete file regarding the expungement of Miami-Dade
                       Criminal Case No.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 41 of 137

   Subpoena Duces Tecum
   Without Deposition

          Th~sSubpoena requires production of your complete file contents. You are to produce each
   and every piece of paper contained in your file regarding the above individual, whether or not
   prepared by you. This further includes telephone messages, letters from attorneys, letters from the
   above individual, or from any other source. You are not permitted to edit or delete items. Failure to
   comply filly may result in court sanctions.

           If the costs of preparation and reproduction exceed One Hundred ($100.00) Dollars
   you must contact the City Attorney's Office before forwarding the requested documents. If
   not, the City Attorney's Office may not satisfy the full amount requested.


               ASSURANCE OF NOTIFICATION REQURED BY HIPPAA SECTION 164.512

               1. The subpoenaing party made a good faith attempt to provide written notice to the
                  plaintiff.
               2. The Notice was sufficient to permit the individual to object.
               3. The time for the individual to object expired.
               4. No objection were filed or all objections were resolved in favor of disclosure, in
                  compliance with 45 C.F.R Sec. 164.512 (eM1).



                   These items will be inspected and may be copied at that time. You will not be
   required to surrender the original items. You may comply with thrs subpoena by providmg legible
   copies of the items to be produced to .the attorney whose name appears on this subpoena on or
   before the scheduled date of production. You may condition the preparation of the copies upon the
   payment in advance of the reasonable cost of preparation. You may mail or deliver the copies to the
   attorney whose name appears on this subpoena and thereby eliminate your appearance at the time
   and place specified above. You have the right to object to the production pursuant to thls subpoena
   at any time before the production by giving written notice to the attorney whose name appears on
   the subpoena.

          If you fail to:

          1.       appear as specified;
          2.       furnish the records instead of appearing as provided above; or
          3.       object to thrs subpoena,

   you may be in contempt of Court. You are subpoenaed by the attorney whose name appears on t h s
   subpoena. Unless excused from this subpoena by that attorney or the Court, you must respond to
   thrs subpoena as directed.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 42 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 43 of 137




                                                  IN THE CIRCUIT COURT OF THE 1 1TH
                                                  JUDICIAL CIRCUIT IN AND FOR
                                                  MIAMI-DADE COUNTY, FLORIDA

                                                  GENERAL JURISDICTION DIVISION

                                                  CASE NO. 10-24746 CA 08

   PEDRO SANTIAGO,

           Plaintiff,                                     SUBPOENA DUCES TECUM
    VS.                                                   FOR PRODUCTION WITHOUT
                                                          DEPOSlTION
    THE CJTY OF HIALEAH, a Political
    Subdivision of the State of Florida,

           Defendant.
                                                      /

    THE STATE OF FLORIDA

    TO:    Records Custodian
           Florida Department of Highway Safety
            & Motor Vehicles
           Neil Kirkman Building
           2900 Apalachee Parkway
           Tallahassee, J?L 32399-0500

                (NO APPEARANCE NECESSARY IF RECORDS ARE MAILED IN.)

            YOU ARE COMMANDED to appear at the office of the City Attorney, City of Hialeah, at
    501 Palm Avenue, Fourth Floor, Hialeah, Florida 33010, on Tuesday, June 1,2010, at 11:OO a.m.,
    and to have with you (or mail in) at that time and place the following:

           a.           Florida Drivers Transcript covering the past seven (7) years for
                        PEDRO SANTIAGO aka PEDRO SANTANA aka PEDRO SANTANA
                        SANTIAGO aka PEDRO SANTIAGO SANTANA; S.S.N.:

                        Any and all correspondence, email transmittals, forms, facsimiles,
                        memos sent by PEDRO SANTIAGO andlor his doctor or agent,
                        notifying the FDHSMV that he suffers from neurological dysfunctions
                        [i.e. epileptic seizures];
           c.           Any and all correspondence, email transmittals, forms, facsimiles,
                        memos, etc. between FDHSMV and PEDRO SANTIAGO andlor his
                        doctors or agents, regarding the cancellation andlor reinstatement of his
                        drivers license as a result of his neurological dysfunctions [i.e. epileptic
                        seizures].
           d.           Any and all medical reports, laboratory results, radiological reports,
                        submitted by PEDRO SANTIAGO or any doctor or agent on his behalf
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 44 of 137

    Subpoena Duces Tecum
    Without Deposition

                         to the Medical Advisory Board - Division of Drivers License, requesting
                         the reinstatement of Mr. Santiago's driving privileges.
           e             Any and all correspondence, reports, internal reviews sent by the
                         Medical Advisory Board - Division of Drivers License to PEDRO
                         SANTIAGO andlor any doctor or agent on his behalf.
           f.            FDHSMV's rules, regulations and policies regarding drivers in the State
                         of Florida who suffer from a neurological condition [i.e. epileptic
                         seizure].
           g.            Any and all Driver Medical Reports filed and received by FDHSMV
                         notifying the agency of PEDRO SANTIAGO'S neurological dysfunction
                         [ieepileptic seizures].

           This Subpoena requires production of your complete file contents. You are to produce each
    and every piece of paper contained in your file regarding the above individual, whether or not
    prepared by you. This M e r includes telephone messages, letters from attorneys, letters from the
    above individual, or fiom any other source. You are not permitted to &t or delete items. Failure to
    comply l l l y may result in court sanctions.

            If the costs of preparation and reproduction exceed One Hundred ($100.00) Dollars
    you must contact the City Attorney's Office before forwarding the requested documents. If
    not, the City Attorney's Ofice may not satisfy the full amount requested.


                 ASSURANCE O F NOTIFICATION REQURED BY HIPPAA SECTION 164.512

                 1. The subpoenaing party made a good faith attempt to provide written notice to the
                    plain tiff.
                 2. The Notice was sufficient to permit the individual to object.
                 3. The time for the individual to object expired.
                 4. No objection were filed or all objections were resolved in favor of disclosure, in
                    compliance with 45 C.F.R Sec. 164.512 (exl).



                    These items will be inspected and may be copied at that time. You will not be
    required to surrender the original items. You may comply with t h s subpoena by proviQng legible
    copies of the items to be produced to the attorney whose name appears on this subpoena on or
    before the scheduled date of production. You may condition the preparation of the copies upon the
    payment in advance of the reasonable cost of preparation. You may mail or deliver the copies to the
    attorney whose name appears on ~s subpoena and thereby eliminate your appearance at the time
    and place specified above. You have the right to object to the production pursuant to t h s subpoena
    at any time before the production by giving written notice to the attorney whose name appears on
    the subpoena.

           If you fail to:

            1.       appear as specified;
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 45 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 46 of 137




                                               IN THE CIRCUIT COURT OF THE 11TH
                                               JUDICIAL CIRCUIT IN AND FOR
                                               MIAMI-DADE COUNTY, FLORlDA

                                               GENERAL JURISDICTION DIVISION

                                               CASE NO. 10-24746 CA 08

   PEDRO SANTIAGO,

          Plaintiff,                                  SUBPOENADUCES TECUM
   VS.                                                FOR PRODUCTION WITHOUT
                                                      DEPOSlTION
   THE CITY OF HIALEAH, a Political
   SuMvision of the State of Florida,

          Defendant.
                                                  1

   THE STATE OF FLORIDA

   TO:    Medical Records Custodian
          Dr. Merredith R Lowe
          1120 N.W. 14 Street
          Ste. 1328
          Miami, FL,33136

              (NO APPEARANCE NECESSARY IF RECORDS ARE MAILED IN.)

           YOU ARE COMMANDED to appear at the office of the City Attorney, City of Hialeah, at
   50 1 Palm Avenue, Fourth Floor, Hialeah, Florida 330 10, on Tuesday, June 1,2010, at 10:OO a.m.,
   and to have with you (or mail in) at that time and place the following:

          a. Any and all medical records, including but not limited to, charts, notes
             memoranda, correspondence, reports, summaries, evaluations, laboratory test
             results, x-ray and test results, MRI, CT scans, films, and all other documents
             pertaining to treatment, examination andlor hospitalization for services
             rendered to: PATIENT: PEDRO SANTIAGO aka PEDRO SANTANA aka
             PEDRO SANTIAGO SANTANA aka PEDRO SANTANA SANTIAGO;
             S.S.N.:              DIOIB:
          b. Any and all correspondence between PEDRO SANTIAGO aka PEDRO
             SANTANA aka PEDRO SANTIAGO SANTANA aka PEDRO SANTANA
             SANTIAGO andlor his attorney and you;
          c, All records and documents that support your testimony at the deposition held
             on July 2, 2008, in Miami-Dade Criminal Case No.                   Copy of the
             deposition is attached.
          d. Any and all correspondence between Scott Miller, Assistant State Attorney,
             David Turken, Assistant State Attorney and/or Roberto Pertierra, Esquire and
             you or any employee andlor representative of your office.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 47 of 137

    Subpoena Duces Tecum
    Without Deposition



           This Subpoena requires production of your complete file contents. You are to produce each
    and every piece of paper contained in your file regarding the above patient, whether or not prepared
    by you. l k s further includes telephone messages, letters from attorneys, letters from the above
    individual, or from any other source. You are not permitted to edit or delete items. Failure to
    comply fully may result in court sanctions.

            If the costs of preparation and reproduction exceed One Hundred ($100.00) Dollars
    you must contact the City Attorney's Office before forwarding the requested documents. If
    not, the City Attorney's M i c e may not satisfy the full amount requested.


                ASSURANCE OF NOTIFICATION REOURED BY HIPPAA SECTION 164.512

                1. The subpoenaing party made a good faith attempt to provide written notice to the
                   plaintiff.
                2. The Notice was sufficient to permit the individual to object.
                3. The time for the individual to object expired.
                4. No objection were filed or all objections were resolved in favor of disclosure, in
                   compliance with 45 C.F.R Sec. 164.512 (eK1).



                    These items will be inspected and may be copied at that time. You will not be
    required to surrender the original items. You may comply with h s subpoena by providing legible
    copies of the items to be produced to the attorney whose name appears on this subpoena on or
    before the scheduled date of production. You may condition the preparation of the copies upon the
    payment in advance of the reasonable cost of preparation. You may mail or deliver the copies to the
    attorney whose name appears on h s subpoena and thereby eliminate your appearance at the time
    and place specified above. You have the right to object to the production pursuant to this subpoena
    at any time before the production by giving written notice to the attorney whose name appears on
    the subpoena.

           If you fail to:

           1.       appear as specified;
           2.       fUmish the records instead of appearing as provided above; or
           3.       object to h s subpoena,

    you may be in contempt of Court. You are subpoenaed by the attorney whose name appears on h s
    subpoena. Unless excused from this subpoena by that attorney or the Court, you must respond to
    h s subpoena as directed.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 48 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 49 of 137




                                                       IN THE CIRCUIT COURT OF THE 1lTH
                                                       JUDICIAL CIRCUIT IN AND FOR
                                                       MIAMI- DADE COUNTY, FLORIDA

                                                       GENERAL JURISDICTION

    PEDRO SANTIAGO,                                    CASE NO. 10-24746 CA 08

           PLAINTIFF,

    VS.                                                     REQUEST FOR COPIES OF
                                                             DOCUMENTS RECEIVED
    CITY OF HIALEAH, a Political                            PURSUANT TO SUBPOENA
    Subdivision of the State of Florida,

           Defendant.
                                           1

           COME NOW the Plaintiff by and through his undersigned counsel and requests that
    counsel for Defendant provide copies of any and all documents received from the following
    individuals pursuant to their Notice of Production From Non-Party, within 5 days of receipt by
    defense counsel:
            1.     M/R/C - Dr. Meredith R. Lowe; and
           2.      RIC - Epilepsy Foundation of America, Inc..
                                     CERTIFICATE OF SERVICE
           I HEREBY CERTIFY that a true and correct copy of the foregoing was sent by U.S.
    Mail [andlor facsimile transmission] this   & day of May, 2010 to: Alan E. Krueger,      Esq.,
    Assistant City Attorney, 50 1 Palm Avenue, Fourth Floor, Hialeah, Florida 33010 [Fax 305-883-


                                                       GONZALO R. DORTA, P.A.
                                                       334 Minorca Avenue
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 50 of 137




                                                        IN THE CIRCUIT COURT OF THE 1lTH
                                                        JUDICIAL CIRCUIT IN AND FOR
                                                        MIAMI- DADE COUNTY, FLORIDA

                                                        GENERAL JURISDICTION

    PEDRO SANTIAGO,                                     CASE NO. 10-24746 CA 08

           PLAINTIFF,

    VS.


    CITY OF HIALEAH, a Political
    Subdivision of the State of Florida,

           Defendant.
                                            1

           PLAINTIFF'S OBJECTIONS AND MOTION FOR PROTECTIVE ORDER

           COMES NOW the Plaintiff, PEDRO SANTIAGO ("Plaintiff'), by and through his

    undersigned counsel, and moves for a protective order on the non-party subpoenas directed to

    Florida Department of Law Enforcement, Florida Department of Highway Safety & Motor

    Vehicles, and Hialeah Convalescent Home, Inc ("Employer"), and in support states as follows:

            1.     City has been sued for excessive use of force arising from multiple, unnecessary

    tasering of Plaintiff who was having an epileptic seizure and laid defenseless on the ground.

           2.      The production sought from Plaintiffs Employer is wholly irrelevant, done to

    harass and further strain the employment relationship. Except for Plaintiff's personnel file, all

    other records are not designed to lead to discovery of admissible evidence.

           3.      Similarly, the request directed to Florida Department of Law Enforcement is also

    aimed at harassing the Plaintiff since the court has already expunged Plaintiffs record arising

    from the City's unlawful; arrest and thus, all of the discovery sought by the City on this matter

    should be foreclosed. In fact, the City was even unsuccessful in its recent appeal to get the
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 51 of 137




                                                                        CASE NO. 10-24746 CA 08
   expunged records. (See 3DCA Opinion at Exhibit "A"). Hence, the subpoena is objectionable

   and the protection should be disallowed.

           4.     Likewise, the City's subpoena to seek personnel records from the State's driver's

   bureau is also aimed to harass and not to lead to the discovery of admissible evidence. Except

   for those records already of public record, this Court should deny this discovery.

           WHEREFORE, Plaintiff objects to the aforesaid subpoena.

                                   CERTIFICATE O F SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was sent by U.S.

    Mail [andlor facsimile transmission] this   qdbday of May, 2010 to: Alan E. Krueger, Esg.,
    Assistant City Attorney, 50 1 Palm Avenue, Fourth Floor, Hialeah, Florida 330 10 [Fax 305-883-



                                                        GONZALO R. DORTA, P.A.




                                                                    w
                                                        Telecopier: 05-     1-884
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 52 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 53 of 137



                                                 IN THE CIRCUIT COURT OF THE 11TH
                                                 JUDICIAL CIRCUIT IN AND FOR
                                                 MIAMI-DADE COLTNTY, FLORIDA

    PEDRO SANTIAGO,                              GENERAL JURISDICTION DIVISION

           Plaintiff,                            CASE NO. 10-24746 CA 08
   VS.


    THE CITY OF HIALEAH, a Political
    Subdivision of the State of Florida,

           Defendants.
                  -
                                                      1

               CERTIFICATE OF NO OBJECTION TO SUBPOENAS UNDER
         RULE 1.351 FOR PRODUCTION OF DOCUMENTS WITHOUT DEPOSITION
           I HEREBY CERTIFY that no objections to production under Rule 1.351, Florida Rules
    of Civil Procedure, have been filed by Plaintiff on Defendant's Notice of Intent to Serve
    Subpoena(s) for Production of Documents Without Deposition upon persons who are non-
   parties, directing the production andfor things without deposition, to-wit:
           a.      MRC/ Dr. Merredith R Lowe; and
           b.      RC/Epilepsy Foundation of America, Inc.

                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been
    furnished by facsimile and U.S. Regular Mail this 24th day of May, 2010 to: GONZALO R
    DORTA, ESQUIRE, Gonzalo R. Dorta, P.A., 334 Minorca Avenue, Coral Gables, FL 33134.

                                                 Alan E. Krueger
                                                 Assistant City Attorney




                                                          FBN 151680
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 54 of 137



                                              N THE CIRCUIT COURT OF THE 1lTH
                                              JUDICIAL CIRCUIT IN AND FOR
                                              MIAMI-DADE COUNTY, FLOlUDA

                                               GENERAL JURISDICTION DIVISION

                                              CASE NO. 10-24746 CA 08

   PEDRO SANTIAGO,

          Plaintiff,                                  SUBPOENA DUCES TECUM
   VS.                                                FOR PRODUCTION WITHOUT
                                                      DEPOSITION
   THE CITY OF HIALEAH, a Political
   Subdivision of the State of Florida,

          Defendant.


   THE STATE OF FLORIDA

   TO:    Medical Records Custodian
          Dr. Merredith R Lowe
          1120 N.W. 14 Street
          Ste. 1328
          Miami, FL 33136

              (NO APPEARANCE NECESSARY IF RECORDS ARE MAILED IN.)

           YOU ARE COMMANDED to appear at the office of the City Attorney, City of Hialeah, at
   501 Palm Avenue, Fourth Floor, Hialeah, Florida 330 10, on Tuesday, June 1,2010, at 10:00 a.m.,
   and to have with you (or mail in) at that time and place the following:

          a. Any and all medical records, including but not limited to, charts, notes
             memoranda, correspondence, reports, summaries, evaluations, laboratory test
             results, x-ray and test results, MRI, CT scans, films, and all other documents
             pertaining to treatment, examination andlor hospitalization for services
             rendered to: PATIENT: PEDRO SANTIAGO aka PEDRO SANTANA aka
             PEDRO SANTIAGO SANTANA aka PEDRO SANTANA SANTIAGO;
             S.S.N.:               DIOIB:
          b. Any and all correspondence between PEDRO SANTIAGO aka PEDRO
             SANTANA aka PEDRO SANTIAGO SANTANA aka PEDRO SANTANA
             SANTIAGO andlor his attorney and you;
          c All records and documents that support your testimony at the deposition held
             on July 2, 2008, in Miami-Dade Criminal Case No.                   Copy of the
             deposition is attached.
          d. Any and all correspondence between Scott Miller, Assistant State Attorney,
             David Turken, Assistant State Attorney and/or Roberto Pertierra, Esquire and
             you or any employee andlor representative of your office.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 55 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 56 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 57 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 58 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 59 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 60 of 137




                                                 IN THE CIRCUIT COURT OF THE 1lTH
                                                 JUDICIAL CIRCUIT IN AND FOR
                                                 MIAMI-DADE COUNTY, FLORIDA

    PEDRO SANTIAGO,                              GENERAL KTRISDICTION DIVISION

           Plaintiff,                            CASE NO. 10-24746 CA 08
    vs.

    THE CITY OF HIALEAH, a Political
    Subdivision of the State of Florida,

           Defendants.
                                                      /

                          DEFENDANT, CITY OF HIALEAH. NOTICE OF
                             PRODUCTION FROM NON-PARTY

           YOU ARE HEREBY NOTIFIED that after ten (10) days fiom the date of service of this
    Notice, the undersigned will apply to the Clerk of this Court for issuance of the attached
    subpoena(s) directed to:
                   a.     MRCI Hialeah Hospital

    who are not parties, to produce the items listed at the time and place specified in the subpoena.
                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been
    h s h e d by facsimile and U.S. Regular Mail this 28th day of Mav, 2010 to: GONZALO R
    DORTA, ESQUIRE, Gonzalo R. Dorta, P.A., 334 Minorca Avenue, Coral Gables, FL 33 134.

                                                 Alan E. Krueger
                                                 Assistant City Attorney
                                                 501 Palm Avenue - Fourth Floor
                                                 Hialeah, Florida 330 10




                                                                                    w

                                                          FBN 151680 -
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 61 of 137




                                                 IN THE CIRCUIT COURT OF THE 1lTH
                                                 JLTDICIAL CIRCUIT IN AND FOR
                                                 MIAMI-DADE COUNTY, FLORIDA

                                                 GENERAL JURISDICTION DIVISION

                                                 CASE NO. 10-24746 CA 08

    PEDRO SANTIAGO,

           Plaintiff,                                    SUBPOENA DUCES ll?CUM
    VS.                                                  FOR PRODUCTION WITHOUT
                                                         DEPOSrrION
    THE CITY OF HIALEAH, a Political
    Subdivision of the State of Florida,

           Defendant.


    THE STATE OF FLORIDA

    TO:    Medial Records Custodian
           HIALEAEI HOSPITAL
           651 East 25 Street
           Hialeah, FL 33013

               (NO APPEARANCE NECESSARY IF RECORDS ARE MAILED IN.)

            YOU ARE COMMANDED to appear at the office of the City Attorney, City of Hialeah, at
    501 Palm Avenue, Fourth Floor, Hialeah, Florida 33010, on Monday, June 28, 2010, at 10:OO
    a.m., and to have with you (or mail in) at that time and place the following:

               Any and all medical records, including but not limited to, charts, notes
               memoranda, correspondence, reports, summaries, evaluations, laboratory test
               results, x-ray and test results, MRI, CT scans, films, and all other documents
               pertaining to treatment, examination andlor hospitalization for services
               rendered to and all billing records re: PATIENT: PEDRO SANTIAGO aka
               PEDRO SANTANA aka PEDRO SANTIAGO SANTANA aka PEDRO
               SANTANA SANTIAGO; S.S.N.:                     D/O/B:

               PLEASE NOTE TILAT WE ARE REQUESTING MEDICAL RECORDS FOR
               ALL DATES OF TREATMENT, INCLUDING BUT NOT LIMITED TO, THE
               ADMISSIONS OF FEBRUARY 9,2008 AND APRIL 19,2008.

           This Subpoena requires production of your complete file contents. You are to produce each
    and every piece of paper contained in your file regarding the above patient, whether or not prepared
    by you. Thrs fhther includes telephone messages, letters from attorneys, letters from the above
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 62 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 63 of 137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 64 of 137




                     IN THE ELEVENTH JUDICIAL CIRCUIT OF FLORIDA
                             IN AND FOR MIAMI-DADE COZJNTY

    PEDRO SANTIAGO,                               :     GENERAL JURISDICTION DIVISION
                                                             CASE NO. 10-24746 CA 08
                                    Plaintiff,    :        JUDGE GISELA CARDONNE

    vs.
                                                               CITY OF HIALEAH'S
    CITY OF HIALEAH, A Political                  :           ANSWER & DEFENSES
    Subdivision of the State of Florida,                         TO COMPLAINT
                                                            JOINING COUNTERCLAIM
                                  Defendant.      :       FOR DECLARATORY JUDGMENT


                                                 ANSWER

           Defendant, CITY OF HIALEAH, by and through the undersi

    defends against the complaint filed in this cause as follows:

                                  AS TO GENERAL ALLEGATIONS

           1. Admitted that the claim arises from an incident in which one or more officers of the

    Hialeah Police Department used force in the course of their response. Denied as to all other

    allegations and adverse inferences.

           2. Admitted for jurisdictional purposes only. Denied as to entitlement to any damages from

    the municipal defendant.

           3. Admitted for jurisdictional purposes only. Denied as to the merits of the claims asserted.

           4. Admitted that a copy of Exhibit "A," purporting to be a presuit notice of claim dated June

    16,2009, from Gonzalo R. Dorta, P.A., on behalf ofPedro Santiago Santana, with the unredacted date

    of birth and Social Security Number shown, and referencing a date of incident of September 28,2007,

    a Hialeah Police Report No. 07-39476, and a State [Criminal] Case [No.] 132007CF0340460001XX,

    was served by mail on and received by the City of Hialeah. Denied that all conditions precedent to
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 65 of 137




    the filing of state tort claims asserted in this Complaint have been satisfied or that the State of Florida

   has waived sovereign immunity on behalf of municipal corporations for all claims asserted in this

   complaint. Denied that the Florida Department of Financial Services or Chief of Police Mark Overton

   is an appropriate agency and/or entity as alleged for service of a presuit notice of claim on the City

   of Hialeah under presuit statutory requirements of the State of Florida. Because the further allegations

   expressed in the exhibit are lengthy and unnumbered, each sentence following the greeting, "Dear

   "Gentlemen," and preceding the last sentence, "Please govern yourselves accordingly," will be

   referred to by consecutive number from 22.1 through 22.62 and the City's response to those specific

   allegations is set forth in paragraph 22 below and repeated and realleged herein.' Denied as to all

   other allegations and adverse inferences.

                                AS TO IDENTIFICATION OF PARTIES

           5. Admitted.

           6. Admitted that the City of Hialeah is a municipal corporation under the laws of the State

   of Florida which, for purposes of section 768.28, Florida Statutes, is included within the term "state

   agencies or subdivisions," when used in that statute. Admitted that the City of Hialeah employed

   Officers Jordana, Janvier, and Gutierrez and that they used force in arresting Plaintiff on September

   28,2007. Denied as to all other allegations and adverse inferences.

                       AS TO FACTS GIVING RISE TO CAUSE OF ACTION

           7. Defendant, City of Hialeah, repeats and realleges each and every response contained in


           'A copy of the text of Exhibit "A" of the Complaint, with consecutive numbering added in
   brackets, is attached and identified as "Sequentially Numbered Allegations As Set Forth in Ex. 'A'
   Incorporated by Reference in paragraph 4 of the Complaint," solely for the purpose of numbering
   the allegations to facilitate making the appropriate response in this Answer to a numbered, rather
   than to an unnumbered allegation and not for the purpose of re-alleging the allegations themselves.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 66 of 137




    the individual respective responses 1 through 6 above as if fully set forth herein.

           8. Admitted that at approximately 4:30 p.m., on September 28, 2007, Plaintiff was in the

    vicinity of 2899 West Second Avenue, Hialeah, Florida. Admitted that beginning at approximately

    4:36 p.m. and prior to the arrival of police or fire rescue, Plaintiff was lying on the ground in the

    outside lane of the roadway at that location, that unidentified persons were attempting to assist him

    to his feet and to get him off the street, and that within approxin~atelyfour minutes he was standing

    up on the sidewalk. Denied that Plaintiff was exhibiting convulsions, that he lost control over his

    bodily movements, that he shook uncontrollably, or that he jerked and moved his arms and legs while

    on the ground. On information and belief based on the clothing he was wearing, Plaintiff may have

   been going to or coming from work. Without knowledge as to whether Plaintiff had finished work

    for the day, that he was walking to a bus stop, or that he had an epileptic seizure. Denied as to all

    other allegations and adverse inferences.

           9. Admitted that Hialeah Police Officers were dispatched to the scene at approximately 4:39

   p.m.

           10. Admitted that when the first officer arrived at the scene prior to 4:41 p.m., that he

   encountered Plaintiff. Denied as to all other allegations and adverse inferences.

           11. Admitted that when the first officer encountered him, Plaintiff refused to answer

   questions that would assist that officer in determining what happened and why he was reported to be

   lying down in the street, that although Plaintiffwas able to verbalize responsive answers to questions,

   he declined to respond to the officer's questions and denied intoxication from drugs or alcohol or

   suffering from any mental ailment or condition. Admitted that although Plaintiff kept reaching into

   his fanny pack, and looking away when questioned, giving the first officer concern for his safety,
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 67 of 137




   denied that Plaintiff was erratic in his behavior toward officers that arrived on the scene. Denied that

   the body movements initially exhibited by Plaintiff to the first officer, beginning with moving back

   and elbowing the officer, striking the officer, and pushing him to the ground, were involuntary rather

   than purposeful and intentional. Admitted that Plaintiff was non-compliant with officer commands

   to submit to authority and to cease his aggression. Admitted that each of three officers that arrived

   on the scene and personally observed and interacted with Plaintiff prior to approximately 4:44 p.m.,

   characterized Plaintiffs behavior as violent resistence and refusal to comply with lawhl commands.

   Denied as to all other allegations and adverse inferences.

           12. Admitted that the first two officers on the scene resorted to the use of non-lethal taser

   force to attempt to overcome Plaintiffs ongoing aggression and non-compliant behavior and that their

   attempts had little or no effect in controlling Plaintiffs behavior. Admitted that subsequently, a third

   officer arrived on the scene and resorted to the use of non-lethal taser force to attempt to overcome

   Plaintiffs ongoing aggression and non-compliant behavior and that a single cycle of his taser

   momentarily incapacitated Plaintiff which allowed the first two officers successfully to handcuff

   Plaintiffand bring his aggressive conduct under control. Denied as to all other allegations and adverse

   inferences.

           14. Denied.

           15. Admitted that, after being knocked to the ground by Plaintiff who continued to be

   combative and standing with fist cocked, prepared to punch the officer while the officer was still on

   the ground, Officer Jordana, the first officer to arrive on the scene, kicked Plaintiff in the knee to

   prevent Plaintiff from punching him. Admitted that Officer Jordana and Officer Janvier, the second

   officer on the scene, participated in securing and handcuffing Plaintiff. Admitted that Officer Janvier
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 68 of 137




   struck Plaintiff in an attempt to knock him off Officer Jordana while Plaintiff held a physical

   advantage over the officer. Denied as to all other allegations and adverse inferences.

           16. Admitted that three officers deployed a non-lethal battery-operated electronic control

   device (taser) but that only the taser deployed by Officer Gutierez, the third officer to arrive on the

   scene, had the desired and intended consequence of incapacitating Plaintiff for sufficient time to

   enable the first two officers successfully to handcuff Plaintiff and bring his aggressive conduct under

   control. Denied as to all other allegations and adverse inferences.

           17. Admitted that Plaintiff was charged with disorderly conduct, battery on a law enforcement

   officer, resisting/obstructing with violence, resisting/obstructing without violence, and criminal

   mischief/vandalism based on the actions he took in violation of state law. Without knowledge as to

   the cause of any actions or conduct exhibited by Plaintiff prior to the arrival of the first police officer.

   Denied as to all other allegations and adverse inferences.

           18. Denied.

           19. Admitted that each of the three officers who responded to the scene and observed and

   interacted with Plaintiff as described in the preceding paragraphs was an employee of the City acting

   in the course and scope of his duties as a law enforcement officer and responded to Plaintiffs non-

   compliant, combative, and aggressive behavior with the reasonable force appropriate to defend

   themselves and each other, to overcome Plaintiff's aggression, and to take Plaintiff into police

   custody. Denied as to all other allegations and adverse inferences.

          20. Admitted that each of the three officers who responded to the scene and observed and

   interacted with Plaintiff as described in the preceding paragraphs was an employee of the City.

   Admitted that none of the three officers who responded to the scene observed Plaintiff exhibit
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 69 of 137




    behavior that could reasonably be characterized as "uncontrollable and involuntary jerking," or any

    other behaviors that could reasonably be construed as "signs of a seizure" or of a "need for immediate

    medical attention," or as anything other than synonymous with "combative," "non-compliant," and.
   <<
        non-responsive." Denied as to all other allegations and adverse inferences.

              21. Admitted that each of the three officers who responded to the scene and observed and

   interacted with Plaintiff as described in the preceding paragraphs used reasonable force authorized

   by law in the performance of lawful duties, including investigating public calls for police assistance

   within the scope of law enforcement and public caretaking duties, defending themselves and each

   other from Plaintiffs aggression, and effecting Plaintiffs arrest. Denied as to all other allegations

   and adverse inferences.

                                       AS TO COUNT I
                                   NEGLIGENT TRAINING [&
                  tj 1983 CLAIM FOR INADEQUATE TRAINING & SUPERVISION]

              22. Defendant, City of Hialeah, repeats and realleges each and every response contained in

   the individual respective responses 1 through 21 above as if fully set forth herein. Further, to the

   extent that Count I purports to allege a state tort claim for negligent training, Defendant moves

   separately to dismiss pursuant to Rule 1.140(b)(6) and to strike pursuant to Rule 1.40(f), F1a.R.Civ.P.

   Further, Defendant responds to the federal claim set forth in Ex. "A" which is incorporated by

   reference by repeating and realleging paragraph 4 of the Con~plaintin paragraph 22 as follows:

                     22.1. Admitted that Pedro Santiago Santana was arrested on September 28,2007, by

   officers of the Hialeah Police Department, including Officers [Ernesto] Gutierrez, Badge #1202,

   [Damian] Jordana, Badge #1598, and [Fritz] Janvier, Badge #1620, and that force was used against

   him by these officers in the course of performing their l a h l duties. Admitted that Gonzalo R.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 70 of 137




   Dorta, P.A. purports to represent Plaintiff in connection with the claims they allege arise from the

   circumstances of the police encounter and arrest. Denied as to all other allegations and adverse

   inferences.

                   22.2. Admitted that on September 28, 2007, the officers tased Mr. Santana several

   times in an attempt to control him. Denied as to all other allegations and adverse inferences.

                   22.3. Denied that either the incident which brought officers to the scene nor the

   officers' initial contact with Plaintiff occurred when Mr. Santana collapsed to the ground and was

   unable to respond to officers' commands. Without knowledge as to whether and to what extent Mr.

   Santana suffers from pre-existing neurological dysfunction or that he suffered an epileptic seizure at

   any given points in time during the subject incident or that his behavior was wholly or partially the

   result of involuntary movements occasioned by an epileptic seizure.

                   22.4. Without knowledge as to whether Mr. Santana was having or continued to have

   an epileptic seizure at the time officers first arrived on the scene.

                  22.5. Denied that officer attempted to subdue Plaintiff by lifting him up from the

   ground by use of excessive force to hold him and unnecessarily deploying tasers "to control him

   down." Admitted that at several points in time in the course of Plaintiffs aggressive assault and

   battery on two law enforcement officers, each of three police officers deployed a taser electronic

   control device in an attempt to control Plaintiff without resort to more violent or physical means of

   control and that because two of the devices did not have sufficient incapacitating effect to prevent

   Plaintiffs continued and ongoing physical aggression and resistance, and because one or more of the

   officers had to resort to additional physical force, including more than one cycle of the electronic

   control device, to overcome Plaintiffs physical aggression and non-compliant behavior.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 71 of 137




                   22.6. Admitted, as an abstract principle, that use of excessive force can be actionable

   under Section 1983 of the Federal Civil Rights Statute. Admitted, as an abstract principle, that the

   use of clearly excessive force can be actionable under state common law. Admitted, as an abstract

   principle, that under state tort law, but not federal civil rights statutes, a municipality can be

   vicariously liable for the negligence or use of clearly excessive force by police officers it employs

   under the appropriate facts and circumstances. Denied that the actual provable facts and

   circumstances of this case or the provable allegations of the complaint present an appropriate case for

   a violation of federal civil rights, use of clearly excessive force, or vicarious liability against the City

   of Hialeah.

                   22.7. Admitted but only to the extent that the City has otherwise admitted to the

   actions of officers it employed in this Answer.

                   22.8. Denied.

                   22.9. Denied.

                   22.10. Admitted that the occurrence of an epileptic seizure can negate the ability of

   a person to control body movements depending upon the nature and severity of the seizure. Denied

   as to all other allegations and inferences.

                   22.1 1. Admitted that the assertion is a tautology and that by definition involuntary

   movements of one's arms are not subject to one's control. Denied that Plaintiffs actions in ignoring

   lawful police commands, resisting or obstructing uniformed law enforcement officers in the

   performance of their duties, and threatening and using physical aggression against them were the

   result of involuntary movements which were beyond Plaintiffs control.

                   22.12. Admitted that officers attributed some of Plaintiffs body movements to
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 72 of 137




   volitional acts of resisting arrest with violence. Denied that officers were mistaken or unreasonable

   in their inferences about the volitional nature of Plaintiffs actions.

                   22.13. Denied that Plaintiff was experiencing visual and cognitive distortion of

   perception or beginning to hallucinate or that he was experiencing an epileptic sequence in the course

   of his interaction with police officers. Without knowledge or certainty as to whether and to what

   extent, if any, Plaintiff experienced visual or cognitive distortion of perception, hallucinations, or an

   epileptic sequence prior to the arrival of police.

                  22.14. Admitted that a person experiencing an epileptic seizure may experience

   involuntary body movements, including involuntary arm movements, as well as visual and cognitive

   distortion of perception and hallucinations. Denied that Plaintiff was experiencing an epileptic

   seizure, involuntary body movements, including involuntary arm movements, as well as visual and

   cognitive distortion of perception and hallucinations, during his interaction with police.

                  22.1 5. Admitted that Plaintiff had been under treatment for an epileptic condition

   since October, 2004, but denied that an epileptic condition caused him to use force and violence to

   obstruct or interfere with police officers in the performance of their duties, to resist arrest, or to

   assault and batter law enforcement officers.

                  22.16. Admitted that Plaintiff was combative and non-compliant with officers' lawful

   commands. Denied as to all other allegations and adverse inferences.

                  22.17. Denied.

                  22.18. Denied.

                  22.19. Admitted that the police officers construed Plaintiffs body movements and

   combative actions as resisting arrest. Denied as to all other allegations and adverse inferences.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 73 of 137




                   22.20. Admitted that the officers tasered Plaintiff several times in response to his

   ongoing and continuing body movements, combative actions, and resistence to arrest. Denied as to

   all other allegations and adverse inferences.

                  22.2 1. Admitted that it required more than one officer to subdue Plaintiff with the use

   of reasonable and necessary force. Denied as to all other allegations and adverse inferences.

                  22.22. Admitted that Plaintiff was arrested and treated for minor injuries incurred in

   using force and violence against police officers and being struck by one set oftaser prongs discharged

   from a single taser cartridge by each of the officers involved in attempting temporarily to incapacitate

   him to effect a lawful arrest in a manner that minimized the risk of permanent or serious injury to

   Plaintiff or the officers. Denied as to all other allegations and adverse inferences.

                  22.23. Admitted only to the extent that Plaintiffs injuries arose from the reasonable

   use of force by law enforcement officers in response to Plaintiffs use of force and violence in

   resisting and obstructing police, committing battery against a law enforcement officer and from his

   own actions. Denied as to all other allegations and adverse inferences.

                  22.24. Denied.

                  22.25. Admitted that it is foreseeable only to the extent that it is possible that law

   enforcement officers could encounter a subject who might manifest involuntary body movements

   attributable to a physical, neurological or medical condition in the course of performing their lawful

   duties. Denied as to all other allegations and adverse inferences.

                  22.26. Admitted.

                  22.27. Admitted only to the extent that obstructing traffic is not punishable as a

   serious criminal offense. Denied that obstructing traffic cannot have serious consequences, including

                                                                                                        10
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 74 of 137




    safety concerns, for law enforcement authorities, the traffic which is obstructed or the person who is

    the cause of the obstruction. Denied as to all other allegations and adverse inferences.

                    22.28. Denied.

                    22.29. Without knowledge as to whether and the extent to which Plaintiffwas inneed

   of help prior to the arrival of police. Admitted that police received 91 1 reports of Plaintiffs

   obstruction of traffic that caused the City to dispatch police officers and fire rescue paramedics to the

   scene for the purpose of investigating, inter alia, whether Plaintiff was in need of help and, if

   necessary, providing emergency medical assistance. Denied as to all other allegations and adverse

   inferences.

                   22.30. Admitted only to the extent that reasonable force was used to subdue Plaintiff.

   Denied as to all other allegations and adverse inferences.

                   22.3 1. Admitted only to the extent that the training and supervision of police officers

   is a discretionary policy-making governmental function under state law for which any duty is apublic

   duty immune from suit under the doctrine of sovereign immunity. Denied as to all other allegations

   and adverse inferences.

                   22.32. Admitted only to the extent that, as an abstract principle, inadequate training

   or supervision of police through a municipal policy of deliberate indifference to the constitutional and

   civil rights of persons likely to be encountered by police in the performance of their duties, can result

   in imposition of liability for violation of federal civil rights if it is the moving force behind a violation

   which results in injury to a particular person under 28 U.S.C. section 1983. Denied as to all other

   allegations and adverse inferences.

                   22.33. Denied.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 75 of 137




                   22.34. Admitted that the Hialeah Police Department received 91 1 calls indicating that

    Plaintiff was walking or lying in the roadway hindering the flow of traffic. Without knowledge as

    to whether and the extent to which his behavior was the result of a seizure episode or whether it was

   uncharacteristic for Plaintiff to be walking in the roadway hindering the flow of traffic. Denied as to

   all other allegations and adverse inferences.

                   22.35. Assuming that reference is made to the point in time after the first officer

   arrived on the scene to investigate the obstruction of traffic and Plaintiffs need, if any, for assistance,

   when Plaintiff became combative and non-compliant, knocked an officer down, and grappled with

   him and a second officer on the ground, admitted that Plaintiff was tasered by Hialeah Police

   Officers and that after he was incapacitated, handcuffed and under control he was assisted to his feet

   by one or more officers. Denied as to all other allegations and adverse inferences.

                   22.36. Denied.

                   22.37. Assuming that reference is made to the point in time after the first officer

   arrived on the scene to investigate the obstruction of traffic and Plaintiffs need, if any, for assistance,

   when Plaintiff became combative and non-compliant, knocked an officer down, and grappled with

   him and a second officer on the ground, denied. Without knowledge as to a point in time prior to

   the arrival of the first responding police officer, but denied on information and belief to the extent

   that 91 1 calls to the police did not describe a person who was not in control of his bodily movements

   or exhibiting behavior akin to one undergoing some neurological or medical-related episode other

   than the possibility of having been struck by a car. Denied as to all other allegations and adverse

   inferences.

                   22.38. Assuming that reference is made to the point in time after the first officer
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 76 of 137




   arrived on the scene to investigate the obstruction oftraffic and Plaintiffs need, if any, for assistance,

   including both before and after Plaintiff became combative and non-compliant, knocked an officer

   down, and grappled with him and a second officer on the ground, denied that Plaintiff was unable

   to respond to verbal commands. Without knowledge whether or not Plaintiff was unable to respond

   to verbal commands at any point in time prior to the arrival of the first responding police officer, but

   admitted on information and belief to the extent that 91 1 calls to the police described a person who

   may have been struck by a car. Denied as to all other allegations and adverse inferences.

                   22.39. Admitted that under some, but not all, circumstances, deployment of a non-

   lethal electronic control device to incapacitate, restrain or control a combative and non-compliant

   subject whose aggressive behavior might manifestly be due to physical, cognitive or mental illness

   could be inappropriate. Denied as to all other allegations and adverse inferences.

                   22.40. Admitted that it is foreseeable only to the extent that it is possible that law

   enforcement officers could encounter a combative and non-compliant subject whose aggressive

   behavior might manifestly be due to physical, cognitive or mental illness in the course of perfomling

   their lawful duties. Denied as to all other allegations and adverse inferences.

                   22.4 1. Admitted to the extent that Russo v. City of Cincinnati, 953 F.2d 1036 (6th Cir.

   1992) included a claim of municipal liability for inadequate training brought under 42 U.S.C. 5 1983

   which requires proof that the training is, in fact, inadequate, that the inadequacy results from the

   municipality's deliberate indifference, and that the deliberate indifference is the moving force that

   causes the constitutional violation complained of (e.g., excessive force). Further admitted to the

   extent that the entire panel in Russo v. City of Cincinnati, found that the taser was designed to be used

   and it was objectively reasonable to use it in the type of circumstance presented by a potelltially
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 77 of 137




   homicidal and suicidal paranoid schizophrenic who posed no immediate threat lying at the bottom

   of a stairwell to stun and to disable temporarily in order to take him into custody rather than to inflict

   more serious or more permanent injury. Further admitted that in Russo v. City of Cincinnati, two

   members of a three-judge panel held that a genuine issue of material fact existed as to whether

   training offered by the city to police officers on use of deadly force amounted to a failure to train in

   deliberate indifference to people's rights under the facts and circumstances of that case where police

   officers fatally shot a paranoid schizophrenic. Further admitted that the dissent in Russo v. City of

   Cincinnati, expresses the law of the Eleventh Circuit that in determining whether a training program

   is adequate, the focus must be on the program itself, not on whether a particular officer was

   adequately trained. Denied as to all other allegations and adverse inferences including any inference

   that the allegation otherwise accurately states a principle of law or that Russo v. City of Cincinnati

   supports it other than to the extent admitted herein.

                  22.42. Denied.

                  22.43. Denied.

                  22.44. Admitted that in the course ofperforming his l a h l duties a police officer can

   reasonably expect to confront a situation involving a combative and non-compliant subject and further

   that it is possible that such a subject has a medical or mental impairment. Denied as to all other

   allegations and adverse inferences including the inference that Brown v. Gray, 227 F.3d 1278 (10th

   Cir. 2000) involved such a situation.

                  22.45. Denied that the City showed a deliberate indifference to the constitutional and

   civil rights ofthose suffering from mental or physical infirmities who because of that impairment are

   unable to understand or respond to orders and cannot control their action and any inference that any
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 78 of 137




   allegation in paragraphs 22.1 - 22.44 above supports any inference or conclusion to that effect.

                   22.46. Denied that officers lacked sufficient training to deal with situations of

   combative and non-compliant subjects they may routinely encounter, including any that may be

   suffering from mental or physical conditions, that fall within the scope of their lawful duties. Denied

   as to all other allegations and adverse inferences.

                   22.47. Admitted on information and belief as set forth in paragraphs 22.1 - 22.46

   above that Plaintiff may have needed an assessment of his medical condition and may have needed

   medical treatment at the time police first encountered him, but his combative and non-compliant

   behavior prevented police and paramedics from assessing his status and medical needs until his

   aggressive conduct was brought under control. Admitted that officers were required to and did

   respond to Plaintiffs combative and non-compliant behavior, and used reasonable force under the

   circumstances, including electronic control devices (tasers) to incapacitate, restrain or control him,

   to stun and to disable tenlporarily rather than to inflict more serious or more permanent injury in

   order to provide the conditions that would allow paramedics safely to assess his medical condition

   after minimizing the risk of harm that Plaintiffs combative and non-compliant behavior presented

   to himself and others, including the emergency rescue crew. Denied as to all other allegations and

   adverse inferences.

                  22.48. Admitted that officers deployed three battery-operated electronic control

   devices (tasers) in an attempt temporarily to stun and incapacitate Plaintiff, two ofwhich were cycled

   more than one time each, but that only the single cycle by the third device had a significant and

   intended effect on Plaintiffs combative and non-compliant behavior sufficient to allowed officers

   to take him into police custody and control. Denied as to all other allegations and adverse inferences.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 79 of 137




                   22.49. Admitted that, as an abstract principle, a municipality could be liable under

   section 1983 for use of excessive force by its employees that violate a person's constitutional rights

   where a municipal policy is the moving force behind the violation. Denied that a municipality would

   be vicariously liable under section 1983 for use of excessive force that violated a person's

   constitutional rights under a theory of respondeat superior simply because the municipality

   employed the person who engaged in the constitutional transgression. Denied as to all other

   allegations and adverse inferences including any inference that the conduct of a Hialeah Police

   Officer, to the extent admitted in paragraphs 22.1 - 22.49 above violated Plaintiffs constitutional

   rights or that a municipal policy was the moving force that caused it.

                   22.50. Admitted that, as an abstract principle, within the limitations of section

   768.28, Florida Statutes, a municipality can be vicariously liable under state tort law for a use of

   force by a police officer it employs that is clearly excessive, but not for a failure to use force, under

   some circumstances. Denied that any officer employed by the City used clearly excessive force in

   confronting Plaintiff or that the circumstances admitted in paragraphs 22.1 - 22.49 above present the

   circumstances under which vicarious liability would be applicable under state tort law. Denied as

   to all other allegations and adverse inferences.

                  22.5 1. Denied that Plaintiff was undergoing an epileptic episode at the time police

   responded with force to his combative and non-compliant behavior. Denied that officers used

   excessive or clearly excessive force. Denied that officers were unreasonably aggressive in their

   attempt to control Plaintiffs combative and non-compliant behavior. Denied as to all other

   allegations and adverse inferences.

                  22.52. Denied, as a matter of law, that the use of force by police admitted in
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 80 of 137




    paragraphs 22.1 - 22.51 above constitutes negligence. Denied, as a matter of law, that under the

    circumstances admitted in paragraphs 22.1 - 22.51 police had a duty to provide necessary medical

    care to Plaintiff that would give rise to a viable claim for negligence. Admitted that police had a

    duty to summon emergency medical assistance to the scene under the circumstances admitted in

   paragraphs 22.1 - 22.51, that fire rescue paramedics were promptly summoned and present at the

   scene, and that the police satisfied their legal duty. Denied as to all other allegations and adverse

   inferences.

                   22.53. Admitted that, as an abstract principle, within the limitations of section

   768.28, Florida Statutes, and qualified immunity, a police officer could incur personal liability for

   a use of excessive force under some circumstances. Denied that individual officers have personal

   liability for the use of force under the circumstances admitted in paragraphs 22.1 - 22.52 above.

   Denied as to all other allegations and adverse inferences.

                   22.54. Denied that any officer deployed deadly force. Denied that any ofiicer

   committed an assault or battery by using force he was privileged under the circumstances to use.

   Admitted that prior to temporarily neutralizing Plaintiffs aggression by the effective deployment

   of a battery-operated electronic coiltrol device (taser), police officers had to resort to physical force

   to defend themselves and each other from Plaintiffs combative and non-compliant behavior. Further

   admitted that during the brief (five second) period of Plaintiffs temporary incapacitation by the

   effective deployment of a battery-operated electronic control device (taser), police officers had to

   resort to physical force to handcuff Plaintiff. Denied that battery-operated electronic control devices

   (tasers) were deployed in a manner, for a duration, or otherwise to exceed the reasonably necessary

   and safe level to effect a temporary incapacitation of Plaintiffs combative and non-compliant
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 81 of 137




   behavior so as to permit police to take him into custody with less risk of injury to themselves and

   Plaintiff than would have ensued if the devices had not been so deployed. Denied as to all other

   allegations and adverse inferences.

                   22.55. Admitted that Plaintiffhas asserted theories of liability under 28 U.S.C § 1983

   and state tort law based on allegations of excessive force and negligence to which the foregoing

   responses in paragraphs 22.1 - 22.54 above were addressed, but denied that the claims are warranted

   by existing law or by a nonfrivolo~~s
                                      argument for extending, modifying, or reversing existing law

   or for establishing new law, and denied that the factual contentions have evidentiary support. Denied

   as to all other allegations and adverse inferences.

                  22.56. Admitted.

                  22.57. Admitted that Plaintiff and his lawyers submit that the prosecutor's decision

   arose from clear and irrefutable evidence that Plaintiffs actions were caused by an epileptic episode

   and not because he intended to resist arrest or disobey the orders of the officers at the scene. Denied

   that the prosecutor's decision did, in fact, arise from clear or irrefutable evidence that Plaintiffs

   actions were caused by an epileptic episode and not because he intended to resist arrest or disobey

   the orders of the officers at the scene. Denied that Plaintiffs combative and non-compliant actions

   were caused by an epileptic episode, which, in fact, they were not. Denied that Plaintiffs combative

   and non-compliant actions were not, in fact, a manifestation of his intent to resist arrest and disobey

   the lawful commands of the officers at the scene, which, in fact, they were. Denied as to any

   inference that even if, arguendo, Plaintiffs combative and non-compliant actions were, in fact,

   caused by an epileptic episode and not because he intended to resist arrest or disobey the orders of

   the officers at the scene, that such facts would vitiate probable cause for his arrest or render
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 82 of 137




   unreasonable the force used to contain his aggression and place him in the lawful custody and control

   of the police. Denied as to all other allegations and adverse inferences.

                   22.58. Denied that any medical records were enclosed or attached with the presuit

   notice. Denied that any medical records were attached with the presuit notice to the Complaint.

   Without knowledge as to what those medical records would or would not have acquainted the

   Defendant or the Court if they had been enclosed or attached. Denied as to all other allegations and

   adverse inferences.

                   22.59. Admitted that the statement referenced in this sentence was asserted in the

   presuit notice. Without knowledge as to whether it was, in truth and fact, applicable to Plaintiff.

                   22.60. Admitted that the presuit notice letter served on the City asserts that Plaintiff

   will pursue theories of liability against the City of Hialeah under 28 U.S.C § 1983 and state tort law

   based on allegations of excessive force and negligence to which the foregoing responses in

   paragraphs 22.1 - 22.59 above were addressed. Denied as to all other allegations and adverse

   inferences.

                  22.61. Admitted that Plaintiff does not concede that the service of a presuit notice

   under state law is a condition precedent to filing a federal claim under 28 U.S.C. § 1983. Admitted

   that service of a presuit notice is not a condition precedent to filing a federal claim under 28 U.S.C.

   § 1983. Admitted that Spooner v. Department o f Corrections, State ofFlorida, 488 So.2d 897 (Fla

   1" DCA 1986) and Maanio v. Florida Department ofLabor and Emplo.vment Securiy, etc., 899

   So.2d 1074 (Fla. 2005) support the propositions for which they are cited.

                  22.62. Based on the assertion set forth in paragraph 22.61 above, admitted that

   Plaintiff felt compelled to submit the presuit notice as to the common law grounds for suit under
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 83 of 137




   state law notwithstanding that Plaintiff also intends to pursue civil statutory and constitutional

   remedies under federal law for which presuit notice is not required.

           23. Denied under the public duty doctrine that the City had any such actionable duty.

           24. Denied under the public duty doctrine that the City had any such actionable duty.

           25. Denied.

           26. Denied.

           27. Denied.

           WHEREFORE, having answered the allegations asserted in this count, Defendant demands

   strict proof of all allegations not expressly admitted herein. Further Defendant demands dismissal

   of the claims against it and judgment in its favor together with all costs of defense, including such

   attorneys fees, as may be recoverable by law.

                                           AS TO COUNT I1
                                        VICARIOUS LIABILITY

           28. Defendant, City of Hialeah, repeats and realleges each and every response contained

   in the individual respective responses 1 through 27 above as if h l l y set forth herein. Further,

   Defendant responds as follows:

           29. Admitted as an abstract principle that a municipality can be vicariously responsible and

   liable for the negligence of its police officers under the appropriate facts and circumstances. Denied

   that the actual provable facts and circumstances of this case or the provable allegations of the

   complaint present an appropriate case for vicarious liability against the City of Hialeah.

           30. Admitted that employees of the City have a duty, while acting within the course and

   scope of their duties, to act with reasonable care with respect to operational activities as to which the
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 84 of 137




   State of Florida has waived sovereign immunity purusant to section 768.28, Florida Statutes and the

   case law. Denied as to all other allegations and inferences.

           3 1. Denied.

           32. Denied.

           33. Admitted that each of the three officers who responded to the scene and observed and

   interacted with Plaintiff as described in the preceding paragraphs was an employee of the City acting

   within the course and scope of his employment. Denied as to all other allegations and adverse

   inferences.

           34. Admitted that each of the three officers who responded to the scene and observed and

   interacted with and used force against Plaintiff as described in the preceding paragraphs was an

   employee of the City acting within the course and scope of his employment. Denied as to all other

   allegations and adverse inferences.

          35. Denied.

          WHEREFORE, having answered the allegations asserted in this count, Defendant demands

   strict proof of all allegations not expressly admitted herein. Further Defendant demands dismissal

   of the claims against it and judgment in its favor together with all costs of defense, including

   attorneys fees, as may be recoverable by law.

                                               DEFENSES

          Defendant, City of Hialeah, by and through the undersigned counsel, asserts defenses to and

   against the complaint filed in this cause as follows:

                                           A. CORE FACTS

           1. At approximately 4.36 p.m. on September 28,2007, the Hialeah Police Department began
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 85 of 137




   receiving a series of 9 1 1 calls describing an incident occurring in the roadway in the vicinity of 2899

    West 2"*Avenue, Hialeah, Florida. The calls advised that a man tripped and fell in a traffic lane, was

   initially lying in the roadway in front of a vehicle that had stopped, obstructing traffic, that the driver

   or other occupant of the vehicle was attempting to help the man up, that at first the man did not get

   up, but eventually he stood up, appeared alert and uninjured, and was last reported standing on the

   sidewalk.

           2. Marked patrol units of the Hialeah Police Department were dispatched to that location in

   emergency mode. Paramedics of the Hialeah Fire Rescue Department were also dispatched in

   emergency mode to that location. Police arrived first.

                   2.1. At approximately 4:43 p.m., Officer Jordana, the first responding officer to

   arrive, encountered Plaintiff, a white or mulatto male subject dressed in blue scrubs. Plaintiff was

   standing without any apparent injuries in the sidewalk-driveway area at 2899 West Second Avenue.

   Onlookers identified Plaintiff to the officer as the person who had been lying in the roadway

   obstructing traffic.

                   2.2. Officer Jordana attempted to question Plaintiff about the incident which had been

   dispatched as a code 2 emergency to conduct an investigation (2-1 4). He asked Plaintifffor his name,

   for his identification, whether he had been drinking, whether he suffered from mental illness,

   whether he used or abused drugs, and whether he needed emergency medical assistance. Plaintiff

   gave a negative response to some queries and no response to others leaving Plaintiff unidentified

   with no indication of what, if anything, had caused him to be lying in the street obstructing traffic.

                   2.3. Officer Jordana asked where Plaintiff was going and Plaintiff responded that he

   was going home. When asked where his home was, Plaintiff pointed to the East and said "over
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 86 of 137




   there."

                   2.4. Plaintiffacted nervous. He looked away when asked a question. He kept reaching

   to a fanny pack at his waist and the officer could not see what was in it. His actions caused Officer

   Jordana to become apprehensive for his own safety, particularly about whether something posing a

   safety risk was in the fanny pack.

                   2.5. Officer Jordana asked Plaintiff to stand next to his patrol car and to place his

   hands on the front hood of the vehicle. Officer Jordana indicated where he wanted Plaintiff to stand

   by placing his left hand on the center of Plaintiffs back below the neck and guiding him toward the

   patrol car. Plaintiff stood next to the vehicle facing the right front wheel in front of the marked unit.

                   2.6. Plaintiff placed his hands on the hood, but almost immediately began to reach

   for the fanny pack at his waist with his right hand. Officer Jordana could sense Plaintiff tensing up.

   Officer Jordana ordered Plaintiff three or four times to keep his hands on the hood of the vehicle,

   but Plaintiff continued to reach for his fanny pack.

                   2.7. The last time Plaintiff reached for the fanny pack, Officer Jordana grasped

   Plaintiff by the wrist. But Plaintiff immediately jerked his hand out of the officer's grasp, rotated his

   body at the waist to the right, and with his right elbow extended backward, thrust his elbow into the

   officer's mid-section knocking the officer to the ground. Plaintiff then faced the officer, made a fist

   and moved fonvard to strike the officer while the officer was on the ground.

                  2.8. From the ground, Officer Jordana defended himself by kicking the Plaintiff in

   the area of the knee.

                  2.9. A physical struggle ensued on the ground between Officer Jordana and Plaintiff.

                  2.10. Paramedics arrived at approximately 4:43 p.m. and observed the Plaintiff
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 87 of 137




   grappling with Officer Jordana. Paramedics were unable to try to assess or treat Plaintiff while he

   was combative and non-compliant because the scene was too uncontrolled and too unsafe for them

   to attempt patient care.

                   2.1 I . At approximately 4:45 p.m., Officer Janvier, the second officer to arrive on the

   scene, observed Officer Jordana grappling on the ground with Plaintiff. Officer Janvier perceived

   that Plaintiffhad the advantage over the officer and observed the imminent threat to Officer Jordana.

   Officer Janvier ran up and struck the Plaintiff in an attempt to knock him off Officer Jordana. He was

   only partially successful and both officers became embroiled in a struggle with Plaintiff on the

   ground. Plaintiff maintained a physical advantage over both officers.

                  2.12. Each of the officers deployed a battery-operated non-lethal electronic control

   device (taser) in an attempt to incapacitate the Plaintiff so as to control his aggressive behavior and

   enable them to handcuff him. Neither device had any appreciable or intended effect on Plaintiffs

   combative, non-compliant behavior. In the course of the struggle, Officer Jordana was shocked by

   contact with one of the conductive wires.

                  2.13. As a further attempt to coi~trolPlaintiffs coinbative, non-compliant behavior,

   Officer Janvier deployed pepper spray, another non-lethal control device, but the wind blew the spray

   back at the officers and did not appear to mitigate Plaintiffs combative behavior.

                  2.14. During the struggle, Plaintiff ignored multiple commands to calm down. At

   some point during the struggle, when he was on his feet, Plaintiff tried to flee, he ignored officers'

   commands to "stop," until the officers had closed the gap between them, at which point he stopped,

   turned toward the advancing officers, and took a combative stance with hands raised, fists clenched,

   and one foot in front of the other.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 88 of 137




                   2.15. At some point during the struggle the conductive wire from at least one and

   possibly both non-lethal battery-operated electronic control devices (tasers) broke rendering the

   devices totally ineffective.

                   2.16. Officer Gutierrez, a uniformed canine officer who had been working an off-duty

   assignment, happened by and observed the struggle. He observed Plaintiff kick and swinging his fist

   at the officers and that Plaintiff maintained the advantage over the officers. Officer Gutierrez ordered

   Plaintiff to lay on the ground and warned that a taser would be used, but Plaintiff ignored him and

   he continued violently resisting the other two officers. Officer Gutierrez then deployed his non-lethal

   battery-operated electronic control device (taser). The device knocked Plaintiff to the ground,

   enabling officers to get a handcuff on Plaintiffs left wrist. But Plaintiff continued to struggle and

   ignored commands to put his right hand behind his back. Officer Gutierrez deployed the taser in

   drive stun mode, incapacitating Plaintiff long enough to allow the other officers to complete the

   handcuffing. Plaintiff was cuffed and in police custody and his combative behavior was under

   control by approximately 4:46 p.m., although he continued to make verbal threats and boasted about

   being able to take on the first two police officers.

                  2.17. Plaintiffwas arrested and charged with disorderly conduct [877.03 F.S], battery

   on a law enforcement officer [784.07 F.S.], resisting/obstructing an officer with violence [843.01

   F.S.], resisting/obstructing    an officer without       violence    [843.02 F.S.], and criminal

   mischief/vandalism [806.13 F.S.] for breaking a rear view mirror on the police vehicle during his

   combative, non-compliant resistance.

                  2.18. Plaintiff continued to be combative and threatening to officers and paramedics

   even after he was handcuffed. When he eventually consented, he was examined by paramedics at the
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 89 of 137




    scene. He was not wearing a medic alert bracelet. He did not claim or inform paramedics on the

    scene that he had lost consciousness. Nor did he claim that he suffered an epileptic seizure, although

    when asked about his past medical history and current medications, he reported a history of seizures

    and that he was taking Depakote ER, a chemical compound that has clinical use as an anticonvulsant

   and mood stabilizing drug primarily in the treatment of epilepsy, bipolar disorder, major depression,

   migraine headaches, and schizophrenia.

                   2.19. Paramedics who had witnessed Plaintiffs combative behavior with police, did

   not observe behavior which was symptomatic of involuntary movements, convulsions, or fatigue

   typically associated with seizure and post seizure behavior. Plaintiff was treated for minor abrasions

   and cleared by paramedics for custodial transport by police.

                   2.20. The sector sergeant responded to the scene. Crime scene technicians responded

   to the scene to document the use of force. A response to resistance package was prepared.

                   2.2 1 Plaintiff was transported to a holding cell at the main station and from there to

   Ward D, the jail wing of Jackson Memorial I-Iospital, pursuant to Hialeah Police Departmental

   Policy and the written Intake Procedures of the Miami-Dade Departineilt of Corrections. Plaintiff

   was in the custody of the Ward D medical and custodial staff from approximately 11 : 13 p.m. until

   1 1:29 p.m. when his medical evaluation was completed and he was cleared for incarceration within

   the general inmate population of the detention facilities operated by the Miami-Dade Department

   of Corrections. He was then transported by the transporting officer to the Miami-Dade County Jail

   where he was again turned over to the Miami-Dade Department of Corrections for incarceration in

   the general inmate population.

                   3. Officers were dispatched to a report of a man lying in the street obstructing traffic.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 90 of 137




    The dispatch combined the need to investigate whether the incident involved a crime or the need to

    obtain emergency medical assistance with the need to provide clearance for paramedics so that they

    in turn could provide Plaintiff with medical care if he needed and in fact desired it.

                   3.1. The 91 1 call for police emergency assistance fell squarely within the law

    enforcement duties of responding officers to investigate whether Plaintiff had been the victim or

   perpetrator of a criminal event or traffic infraction. Plaintiffs aggressive physical behavior

   established a specific, articulable basis for officers reasonably to believe that Plaintiffposed a threat

   to himself, to police, to other pedestrians, and to vehicular traffic in the area which justified police

   resort to reasonable force in responding to the law enforcement component of Plaintiffs aggressive

   conduct.

                   3.2. The 91 1 call for police emergency assistance also fell squarely within the

   community caretaking functions of the responding officers to summon emergency medical assistance

   to the scene and to facilitate the ability of paramedics summoned to the scene to assess and treat the

   medical condition of a person who had been reported to be lying in the middle of the street from

   sonle unl;llown cause. Plaintiffs aggressive physical behavior established a specific, articulable basis

   for officers reasonably to believe that Plaintiff posed a threat to paramedic safety and hampered the

   ability of paramedics to provide Plaintiff with any needed medical care which justified police resort

   to reasonable force in responding to the community caretaking component of Plaintiffs aggressive

   conduct.

           4. A taser is a non-lethal battery operated electronic control device manufactured by Taser

   International which emits a low amperage pulse of electrical energy in 5-second cycles allowing

   police officers who are otherwise authorized to use force to incapacitate a combative or non-
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 91 of 137




   compliant subject by causing temporary muscle contraction and pain without causing serious or

   permanent injury.

                    4.1. The taser models in use by the officers were the M26 and the X26. The M26 is

   powered by eight standard AA 1.5-volt or NiMH 1.2 volt rechargeable low amperage penlight

   batteries. The X26 is powered by two CR123A 3-volt low amperage lithium rechargeable photo

   batteries.

                    4.2. Electrical output from the M-26 or X26 taser is less than a cardiac defibrillator.

                                B. DEFENSES OF CITY OF HIALEAH
                                         TO SPECIFIC COUNTS

                                      AS TO COUNT I
                5   1983 CLAIM FOR INADEQUATE TRAINING & SUPERVISION

           5. The Defendant repeats and realleges each and every allegation set forth in paragraphs 1

   through 4.2 above with the same force and effect as if fully set forth herein.

           6. Exhibit "A" of Count I of the complaint fails to state and the record fails to establish a

   federal claim against the City of Hialeah on which relief can be granted in favor of a Plaintiff for

   violation of civil rights in that the acts of the officers of the Hialeah Police Department complied

   with all relevant legal standards at the time and place of the incident and comported with proper

   police training, procedure, and supervision (including discipline) as authorized by law under the

   factual circumstances confronted as set forth in paragraphs 1 through 4.2 above.

                    6.1. The totality of circumstances show that police were performing lawfbl law

   enforcement duties and community caretaker functions in investigating emergency calls for

   assistance involving a man lying in the street blocking traffic and that reasonable force was used to

   control Plaintiffs violent, combative, and aggressive behavior, to effect compliance with lawful
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 92 of 137




   commands, to overcome non-compliance and active resistance, to defend officers from assault and

   battery on their persons, to prevent Pedro Santiago from injuring himself or others, and to arrest

   Pedro Santiago based on probable cause.

                   6.2. There was no underlying constitutional violation. The use of reasonable force by

   police in the perfomlance of l a w h l duties and functions was reasonable under the totality of the facts

   and circumstances and the direct consequence of Plaintiffs violent, combative, aggressive and non-

   compliant behavior.

           7. Exhibit "A" of Count I of the complaint fails to state and the record fails to establish

   federal claims against the City of Hialeah on which relief can be granted in favor of a Plaintiff for

   violation of civil rights in that there is a failure to identify and establish a municipal policy

   promulgated by a final policymaker of the City of Hialeah that caused Pedro Santiago to be subjected

   to a deprivation of a constitutional right under the factual circumstances confronted as set forth in

   paragraphs 1 through 4.2 above, and, in truth and fact, none exists.

                   7.1. The City of Hialeah is not subject to respondeat superior liability under 28

   U.S.C. $1983 for alleged civil rights violatioils actio~lsby its police officers.

                   7.2. Plaintiff has failed to establish any unconstitutional violation by a final policy

   maker or as a direct result of any municipal policy.

                   7.3. At all times material to this cause of action, the City of Hialeah Police

   Department had written policies, procedures and rules in effect relating to matters likely to affect the

   rights of persons with whom police come into contact, including the use of appropriate force in

   various circumstances in which officers are called upon to perform official duties, those policies,

   procedures and rules were reasonable, lawful and constitutional on their face, and all officers of the
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 93 of 137




    City of Hialeah Police Department were under express orders to follow them.

                   7.4. At all times material to this cause of action, it was the policy and practice of the

    City of Hialeah to require its police officers to be trained in matters likely to affect the rights of

    persons with whom police come into contact, including areas relevant to the incident at issue in the

   pending case including basic recruit training taught in state certified and independently operated

   educational facilities such as the Southeast Florida Institute of Criminal Justice according to the

   guidelines and minimum standards established by the State of Florida.

                   7.5. At all times material to this cause of action, it was the policy and practice of the

   City of Hialeah to supervise its police officers, that policy and practice was followed with regard to

   the incident described in paragraphs 1 through 4.2 above, and the officers involved were

   appropriately supervised and, where appropriate, disciplined in matters likely to affect the rights of

   persons with whom police come into contact, including areas relevant to the incident at issue in the

   pending case.

                   7.6. At all times material to this cause of action, it was the policy and practice of the

   City of Hialeah to utilize only reasonable force in the performance of lawful and constitutional law

   enforcement and community care taking objectives. That policy and practice was followed with

   regard to the incident described in paragraphs 1 through 4.2 above.

                   7.7. At all times material to this action, it was the policy and practice of the City of

   Hialeah to summon needed emergency medical assistance for persons, including injured citizens,

   arrestees, and prisoners, encountered in the course of an officer's duties and that policy and practice

   was followed with regard to the incident described in paragraphs 1 through 4.2 above.

                   7.8. A federal civil rights claim against a municipal government cannot be predicated
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 94 of 137




    on an alleged negligent failure to provide timely medical care, the use of negligent force, or any other

    negligent act by a municipal employee.

                   7.9. At all times material to this action, officers of the Hialeah Police Department

   received appropriate training in the use of non-lethal battery-operated electronic control devices

   designed to stun and to disable temporarily rather than to inflict more serious or more permanent

   injury to establish control in situations where a subject's behavior is aggressive, combative, and

   non-compliant and where the subject's physical movements pose a risk of harm to himselfor others,

   regardless of whether the person is actually suffering a seizure.

                   7.10. Deployment of a non-lethal battery-operated electronic control device to stun

   and to disable temporarily rather than to inflict more serious or more permanent injury in order to

   establish control in situations where a subject's behavior is aggressive, combative, and

   non-compliant and where the subject's physical movements pose a risk of harm to himself or others,

   may be appropriate and reasonable regardless of whether the person is actually suffering a seizure.

           8. Exhibit "A" of Count I of the complaint fails to state and the record fails to establish

   federal claiins against the City of Hialeah on w-hich relief call be granted in favor of Plaintiff for

   violation of civil rights in that there is a failure to identify a widespread municipal custom that

   caused the acts of the officers of the Hialeah Police Department to violate relevant constitutional

   standards at the time and place of the incident through training or supervision that was deliberately

   indifferent to constitutional rights under the factual circumstances confronted as set forth in

   paragraphs 1 through 4.2 above.

           WHEREFORE, Defendant demands dismissal of the claims and judgment in its favor

   together with all costs of defense, including attorneys fees, as may be recoverable by law.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 95 of 137




                                           AS TO COUNT I
                                        NEGLIGENT TRAINING

           9. The Defendant repeats and realleges each and every allegation set forth in paragraphs 1

    through 4.2 above with the same force and effect as if fully set forth herein.

            10. The state law action in Count I of the complaint, commingled within the allegations of

    the federal claim set forth in Exhibit "A" of the same count, fails to state and the record fails and

   will continue to fail to establish a claim for negligence cognizable under state law against the CITY

    OF HIALEAH under the circumstances of this case.

                   10.1. There is no actionable duty to train police officers under state tort law.

                   10.2. Any action pleaded in the complaint under state law falls within the immunities

   accorded municipal corporations under the doctrine of sovereign immunity, the case law and the

   limitations, exemptions, and notice requirements set forth in section 768.28, Florida Statutes.

                   10.3. The training of police officers is a discretionary policy-making governmental

   function immune from suit under the doctrine of sovereign immunity.

                   10.4. All relevant material acts or omissions, if any, of the CITY OF HIALEAH

   were planning level, judgmental, or police power functions for which Defendant has no state tort

   liability under the doctrine of sovereign immunity and the immunities accorded municipal

   corporations under the case law and the limitations, waivers, exemptions, and notice requirements

   set forth in section 768.28, Florida Statutes.

                   10.5. Police are privileged to use reasonable force to defend or protect themselves or

   others and to carry out lawfUl law enforcement duties and community care taker functions.

                   10.6. Plaintiff has failed to satisfy the demand prerequisites to the municipality's
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 96 of 137



   waiver of sovereign immunity.

                    10.7. Police acted under circumstances where external forces thrust a "serious

   emergency" on them that required them to choose between different risks posed to the public of such

   a nature that no matter what decision they made someone would be at risk and the choices they made

   between risks involved what essentially is a discretionary act of executive decision making which

   is entitled to the protection of sovereign immunity.

           11. To the extent that Pedro Santiago suffered injury or damages, it was a natural and

   proximate consequence of his own combative and non-compliant acts and omissions.

           12. At all times material to this cause of action, and to the extent that law enforcement

   officers employed by the CITY OF HIALEAH Police Department were acting within the scope of

   their duties and employment, they were delegated all lawful discretion accorded police officers under

   the law, and they had a legal duty and discretion to take the actions and use the force described above

   in responding to the situation they encountered.

           13. Pedro Santiago knew or had reason to know that the persons interacting with him and

   attenlptiilg to restrain hinl and control his coillbative and non-compliant behavior were law

   enforcement officers, the officers reasonably appeared to be law enforcement officers.

                   13.1. Pursuant to sections 776.05 1(1), 843.01 and 843.02, Florida Statutes, Pedro

   Santiago was not justified in resisting, obstructing, or opposing, or attempting to resist, obstruct, or

   oppose any of these officers in any manner whatsoever in the discharge of their lawful duties.

                   13.2. Plaintiff used force and violence or the threat of force or violence against the

   officers, thereby committing a forcible felony during which he sustained the injuries for which his

   state tort claim seeks relief.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 97 of 137




                     13.3. Pursuant to section 776.085(1), Florida Statutes, his use of force and violence

   or the threat of force or violence is a defense to the state tort claim pleaded. It is a defense to any

   claim for personal injury with respect to any state cause of action based on police use of force that

   the injuries sustained by Pedro Santiago were incurred as a participant during the commission or

   attempted commission of a felony which involved the use or threat of physical force or violence.

             14. Any damages claimed by Plaintiff were caused by the supervening intentional or criminal

   acts of Pedro Santiago, himself, breaking the chain of causation as to any act or omission of the City

   of Hialeah or by any of its officers, employees, or agents acting within the scope of employment, and

   thereby barring, limiting, or estopping any and all claims of the Plaintiff against the City of Hialeah.

             15. Plaintiff has failed to raise a justiciable issue of law or fact by his state tort claim against

   this Defendant.

             16. Plaintiffs claims are subject to set-off for all benefits paid or payable to Plaintiff from

   any collateral source on account of his injury pursuant to section 768.76, Florida Statutes. Defendant

   is entitled to apportionment under Florida law and may not be subjected to judgment in an amount

   that exceeds thepro rata share of overall liability, if any, attributable to the City.

             17. Any recovery of damages is subject to the limitations and restrictions set forth in the

   Hospital Lien Law, section 25C-2, Miami-Dade County Code of Ordinances.

             18. Any recovery is subject to setoff, pursuant to section 768.041, Florida Statutes, for

   settlements between Plaintiff and any other defendant or non-party in satisfaction of any claim for

   damages arising out of the circumstances of this litigation for which Defendant may also be held

   liable.

             WHEREFORE, Defendant demands dismissal of the claims and judgment together with all
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 98 of 137




    costs of defense, including attorneys fees, as may be recoverable by law.

                                       COUNT I1
                          STATE CLAIM FOR VICARIOUS LIABILITY
                         UNDER THEORY OF RESPONDEAT SUPERIOR

           19. The Defendant repeats and realleges each and every allegation set forth in paragraphs 1

   through 4.2 above with the same force and effect as if fully set forth herein.

           20. Count I1 of the complaint fails to state and the record fails to establish a claim for

   negligence cognizable under state law against the CITY OF HIALEAH under the circumstances

   of this case.

                   20.1. Any action pleaded in the complaint under state law falls within the immunities

   accorded municipal corporations under the doctrine of sovereign immunity, the case law and the

   limitations, exemptions, and notice requirements set forth in section 768.28, Florida Statutes.

                   20.2. All relevant material acts or omissions, if any, of the CITY OF HIALEAH

   were planning level, judgmental, or police power functions for which Defendant has no state tort

   liability under the doctrine of sovereign immunity and the immunities accorded municipal

   corporations under the case law and the limitations, waivers, exemptions, and notice requirements

   set forth in section 768.28, Florida Statutes.

                   20.3. Hialeah police officers acted under circumstances where external forces thrust

   a "serious emergency" on them that required them to choose between different risks posed to the

   community of such a nature that no matter what decision they made someone would be at risk and

   the choice they made between risks involved what essentially is a discretionary act of executive

   decision making which is entitled to the protection of sovereign immunity

                   20.4. There is no actionable duty on police officers to make decisions or to choose
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 99 of 137




    between alternatives under state tort law.

                   20.5. Any action pleaded in the complaint under state law falls within the immunities

    accorded municipal corporations under the doctrine of sovereign immunity, the case law and the

    limitations, exemptions, and notice requirements set forth in section 768.28, Florida Statutes.

                   20.6. The decision-making of a police officer in executing a legal duty is a

   discretionary policy-making governmental function immune from suit under the doctrine of

   sovereign immunity.

                   20.7. All relevant material acts or omissions, if any, of the CITY OF HIALEAH

   were planning level, judgmental, or police power functions for which Defendant has no state tort

   liability under the doctrine of sovereign immunity and the immunities accorded municipal

   corporations under the case law and the limitations, waivers, exemptions, and notice requirements

   set forth in section 768.28, Florida Statutes.

                  20.8. Police are privileged to use reasonable force to defend or protect themselves or

   others and to carry out lawful law enforcement duties and community care taker functions.

                  20.9. Police acted under circulllstances where external forces thrust a "serious

   emergency" on them that required them to choose between different risks posed to the public of such

   a nature that no matter what decision they made someone would be at risk and the choices they made

   between risks involved what essentially is a discretionary act of executive decision making which

   is entitled to the protection of sovereign immunity.

                  20.10. Plaintiff have failed to satisfy the demand prerequisites to the municipality's

   waiver of sovereign immunity.

                  20.11. There is no action cognizable under state law for negligence premised on an
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 100 of
                                      137



  intentional act or omission.

                   20.12. The City is not vicariously liable in tort for the acts or omissions of an officer,

  employee, or agent committed in bad faith or with malicious purpose or in a manner exhibiting

  wanton and willful disrgard of human rights, safety or property.

          21. To the extent that Pedro Santiago suffered injury or damages, it was a natural and

  proximate consequence of his own combative and non-compliant acts and omissions.

          22. At all times material to this cause of action, and to the extent that law enforcement

  officers employed by the CITY OF HIALEAH Police Department were acting within the scope of

  their duties and employment, they were delegated all l a h l discretion accorded police officers under

  the law, and they had a legal duty and discretion to take the actions and use the force described above

  in responding to the situation they encountered.

          23. Pedro Santiago knew or had reason to know that the persons interacting with him and

  attempting to restrain him and control his combative and non-compliant behavior were law

  enforcement officers, the officers reasonably appeared to be law enforcement officers.

                  23.1. Pursuallt to sections 776.051(1), 843.01 and 843.02, Florida Statutes, Pedro

  Santiago was not justified in resisting, obstructing, or opposing, or attempting to resist, obstruct, or

  oppose any of these officers in any manner whatsoever in the discharge of their lawful duties.

                  23.2. Plaintiff used force and violence or the threat of force or violence against the

  officers, thereby committing a forcible felony during which he sustained the injuries for which his

  state tort claim seeks relief.

                  23.3. Pursuant to section 776.085(1), Florida Statutes, Plaintiffs use of force and

  violence or his threat of force or violence is a defense to the state tort claim pleaded. It is a defense
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 101 of
                                      137



  to any claim for personal injury with respect to any state cause of action based on police use of force

  that the injuries sustained by Pedro Santiago were incurred as a participant during the commission

  or attempted commission of a felony which involved the use or threat of physical force or violence.

            24. Any damages claimed by Plaintiff were caused by the supervening intentional or criminal

  acts of Pedro Santiago, himself, breaking the chain of causation as to any act or omission of the City

  of Hialeah or by any of its officers, employees, or agents acting within the scope of employment, and

  thereby barring, limiting, or estopping any and all claims of the Plaintiff against the City of Hialeah.

            25. Plaintiff has failed to raise a justiciable issue of law or fact by his state tort claim against

  this Defendant.

            26. Plaintiffs claims are subject to set-off for all benefits paid or payable to Plaintiff from

  any collateral source on account ofhis injury pursuant to section 768.76, Florida Statutes. Defendant

  is entitled to apportionment under Florida law and may not be subjected to judgment in an amount

  that exceeds the pro rata share of overall liability, if any, attributable to the City.

            27. Any recovery of damages is subject to the limitations and restrictions set forth in the

  Hospital Lien Law, section 25C-2, Miami-Dade County Code of Ordinances.

            28. Any recovery is subject to setoff, pursuant to section 768.041, Florida Statutes, for

  settlements between Plaintiff and any other defendant or non-party in satisfaction of any claim for

  damages arising out of the circumstances of this litigation for which Defendant may also be held

  liable.

            WHEREFORE, Defendant demands dismissal of the claims and judgment together with all

  costs of defense, including attorneys fees, as may be recoverable by law.

                       COUNTERCLAIM FOR DECLARATORY JUDGMENT
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 102 of
                                      137


          29. This is an action pursuant to Chapter 86, Florida Statutes for a Declaratory Judgment to

  declare the rights, status, and other equitable or legal relations of the City of Hialeah with respect

  to specific criminal history information pertaining to the arrest of Pedro Santiago Santana on

  September 28, 2007, which is contained in City records identified in an order of expungement

  directing the City of Hialeah to expunge those records.

          30. The City of Hialeah is a municipal corporation organized by charter under the laws of the

  State of Florida which exercises its law enforcement powers and duties through the City's Police

  Department.

          3 1. The Hialeah Police Department is an organizational unit of the City of Hialeah and does

  not have the legal capacity to sue or be sued except by or through the City of Hialeah as a municipal

  corporation.

         32. The City, acting through its Police Department, was the "arresting agency" in the criminal

  case of State vs. Pedro Santiago, Case No. F07-34046 in the Criminal Division of the Circuit Court

  for the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, which arose out ofthe facts

  and circumstances of Sailtiago's arrest on Septeinber 28, 2007.

         33. Officers Jordana and Janvier, in full uniform and known or reasonably appearing to be

  sworn law enforcement officers of the City of Hialeah, while engaged in the execution of their legal

  duty as law enforcement officers, including arresting Pedro Santiago Santana, were victims of

  physical violence at the hands of Pedro Santiago Santana who used physical force and violence

  against them to resist their lawful commands, directions, and actions.

         34. The use of force and violence against the officers was the basis for criminal charges of

  battery on a law enforcement officer and resisting an officer with violence.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 103 of
                                      137


          35. The criminal case against Pedro Santiago was nolle prossed by the State Attorney's

  Office despite objection by the officers.

          36. On January 20, 2008, Pedro Santiago obtained a court order expunging the criminal

  history information pertaining to his arrest on September 28, 2007. [Exhibit "B"] In relevant part,

  that order directed that the "Hialeah Police Department (arresting-agency), ... comply with the

  procedures set forth in section 943.9585 [sic], Florida Statutes, and appropriate regulations of the

  Department of Law Enforcement, and ... further forward a copy of this order to any agency that their

  records reflect has received the instant criminal history record information ... ." The order further

  directed that the "Hialeah Police Department shall expunge all information concerning indicia of

  arrest or criminal history information regarding this Defendant in accordance with the procedures

  set forth in section 943.0585, Florida Statutes, and Florida Rule of Criminal Procedure 3.692."

         37. The City of Hialeah was not made a party to the expungement proceedings nor given

  prior notice that its rights would be affected by legal proceedings held on January 20, 2008.

         38. Pedro Santiago was required, pursuant to 5 943.0585(3)(a), F.S., to serve the completed

  petition to expunge upoil the arresting agency in judicial proceedings seeking expungenlcnt so as to

  afford the arresting agency the opportunity "to respond to the court regarding the completed petition

  to expunge."

         39. The completed petition to expunge was not served on the Hialeah Police Department as

  prescribed by law.

                 39.1. The City of Hialeah is a municipality organized and existing under the laws of

  the State of Florida which provides services to its residents through various departments, one of

  which is law enforcement.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 104 of
                                      137


                  39.2. Law enforcement services are provided through the City's Police Department,

  Hialeah City Charter, Art. I, 5 1.01, Art. IV, $4.04; Hialeah City Code, Art. 11, Div. 2, $52-56 - 2-57,

  which was the "arresting agency" in the arrest of Plaintiff concerning which expungement of the

  City's records was ordered.

                  39.3. The Hialeah Police Department is not a legal entity, does not have any legal

  existence separate and apart from the City of Hialeah, and cannot sue or be sued apart from suing

  the municipality, itself.

                  39.4. Jurisdiction to adjudicate the interests of the Hialeah Police Department, as the

  organizational instrument through which the City of Hialeah, a municipal entity, exercises its

  policing functions, including possession, custody, and control over its criminal history records,

  requires proper service on the municipality pursuant to   5 48.11 1(1), F.S., and adequate notice and
  opportunity to appear prior to adjudication of its rights and interests.

         40. There is good cause for believing that the order expunging the non-judicial criminal

  history records of Pedro Santiago, the Defendant identified with the above-numbered criminal case,

 is not binding on the City of I-Iialeah.

         4 1. Pursuant to 5 943.0585(3)(d), F.S., "No cause of action, including contempt ofcourt shall

 arise against any criminal justice agency for failure to comply with an order to expunge when the ...

 order does not otherwise comply with the requirements of this section."

         42. Plaintiff has waived any privilege by the following actions:

                 42.1. On June 16, 2009, GONZALO R. DORTA, P.A., as attorneys for Plaintiff,

 initiated written pre-suit notice of claim pursuant to §768.28(6), F.S., against the City of Hialeah.

                          42.1.1. The notice alleged the wrongful arrest and use of excessive force by
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 105 of
                                      137


  its officers arising out of the circumstances of his arrest on September 28,2007, which resulted in

  the criminal case whose records had been expunged, and put the City on notice of the intent to

  pursue a civil lawsuit against it. [Exhibit "A" to the Complaint].

                         42.1.2. Plaintiff was identified by name as the Defendant in the above-

  numbered criminal case and specific allegations were set forth in the notice which recreated the

  substance of expunged criminal history information.

                         42.1.3. Both state and federal claims were alleged to arise out of the

  circumstances of the arrest incident.

                         42.1.4. The notice attached as an "Enclosure" to the notice a copy of the arrest

  report [Exhibit "C"], which was one of the very records containing criminal history information

  subject to the expungement order.

                         42.1.5. The copy of the expunged arrest report enclosed with the notice of

 claim was unredacted.

                 42.2. On August 7, 2009, GONZALO R. DORTA, P.A., as attorneys for Plaintiff,

 made written de~llaild [Exhibit "D"] that the City "preserve all electroilic a i d written

 communications, correspondence by and between any City employee or official (former or current)

 and/or with political subdivisions, law enforcement andlor with any other person or lawyer relating

 and/or arising from the incident described in ... [the] statutory notice ... ."

                         42.2.1. Plaintiff was again identified by name as the Defendant in the above-

 numbered expunged criminal case and a copy of the pre-suit notice of claim was enclosed and

 referenced.

                 42.3. On September 2,2009, GONZALO R. DORTA, P.A., as attorneys for Plaintiff,
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 106 of
                                      137


 made a written public records request [Exhibit "E"] requiring the City to produce numerous

 documents, including "[all1 close-out memos, internal affairs reports and writings relating to the

 incident described in the attached Police Report (Exhibit ''An;~[Exhibit"C" herein] [#6] ... , [all1

 emails relating, discussing the subject incident [#7] ... , and [tlhe results of all internal or

 Departmental investigations conducted on the City's police officers that handled the subject incident



                        42.3.1. The written public records request concluded with the following notice

 and admonishment:

                           42.3.2. You are also put on notice to preserve, in their original form, these
 requested records, all communication recordings with, by and between all officers involved in the
 subject incident, and further preserve and not modify, alter, erase or discard any recordings, e-mails,
 memos, internal, inter and/or intradepartmental memos, e-mails, and written communications
 relating to the subject incident and/or referring and/or commenting about the police officers involved
 in the subject incident; investigative reports performed or undertaken as a result of prior incidents
 of any kind that involves any of the police officers involved in the subject incident, and all other
 records, personnel or otherwise, involving the police officers involved in the subject incident,
 including all evidentiary and/or physical evidence collected from the subject incident, whether,
 tested, studied and/or reviewed, pursuant to investigative activities undertaken on the subject
 incident.

                      42.3.3. Your failure to preserve such records, documents and evidence may
 expose you and/your Department and City to civil liability.

                        42.3.4. Many of the documents requested as well as those whose failure to

 preserve were subject to the notice and admonishment are or include criminal history information

 subject to the expungement order.

                        42.3.5. Plaintiff attached another unredacted copy of the expunged arrest

 report as "Exhibit A" [Exhibit "C" herein] to its written request.

                        42.3.6. Again, Plaintiffwas identified by name as the Defendant in the above-
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 107 of
                                      137


  numbered expunged criminal case.

                  42.4. On May 5, 2010, Plaintiff served a Request for Production on the City of

  Hialeah simultaneously with service of the summons and complaint in this litigation. [Exhibit "F"].

  The request demanded inspection andlor production of copies within forty-five (45) days of service

  of documents which included those described as "all records generated by the City of Hialeah Police

  Department in connection with the incident" and "all reports arising from any internal investigation

  of the police officers behavior, conduct andlor work in connection with the incident."

                 42.5. The pre-suit notice of claim, including the unredacted arrest report, the

  spoliation notice, including an enclosed copy of the pre-suit notice, and the public records request,

  including another copy of the unredacted arrest report, each became a "public record."

                          42.5.1. The pre-suit notice [Exhibit "A" to the Complaint] enclosing an

  unredacted copy of the expunged arrest report [Exhibit "C"] was received by the Mayor pursuant

  to §768.28(6), F.S., and the Chief of Police in connection with the transaction of official business

 on behalf of the City.

                          42.5.2. The spoliation notice [Exhibit "D"] was received in comlectio~lwith

 the transaction of official business on behalf of the City by the Mayor, the Chief of Police, the City

 Attorney, and the City's third party administrator of liability claims.

                          42.5.3. The preservation demand contained in the public records request

  [Exhibit "E"] was received in co~mectionwith the transaction of official business on behalf of the

 City by the Mayor, the Chief of Police, the City Attorney, and the City's third party administrator

 of liability claims.

                          42.5.4. The written public records request [Exhibit "E"], including another
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 108 of
                                      137



  unredacted copy of the expunged arrest report [Exhibit "C" herein], was received by the City

  Clerk's Office pursuant to 5 119.07, F.S., and in connection with the transaction of official business

  on behalf of the City.

                           42.5.5. The request for production [Exhibit "F"] was served on the Mayor

  pursuant to $48.1 11(1), F.S., and received by him in connection with the transaction of official

  business.

                           42.5.6. As defined by $1 19.01 1(12), F.S., public records include "all

  documents, papers, [and] letters ... received pursuant to law ... or in connection with the transaction

  of official business ... ."

                           42.5.7. Plaintiff created and recreated public records of some of the very

  information which was included in criminal history information that had be expunged.

          43. Continued expungement ofthe criminal history information pertaining to Plaintiffs arrest

 allows Plaintiff to control and manipulate access to records and information about the totality of the

 facts and circumstances which bear on defense to the claimed liability asserted in Plaintiffs litigation

 against the City and gives him unfair and unjust advantage through use of a statutory privilege that

 was intended to be a shield, not a sword in the prosecution of a claim for money damages.

          44. The City is in doubt about its rights to preserve, maintain, and access its own records in

 its defense in the lawsuit commenced by Plaintiff Pedro Santiago Santana. The records are necessary

 to refresh recollection, to provide the best evidence of public records setting forth the activities of

 the Hialeah Police Department and matters observed and recorded by its officers pursuant to duty

 imposed by law as to matters which there was a duty to report, to corroborate or refute witness

 accounts, to locate other evidence and witnesses, to provide the trier of fact with a documentary basis
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 109 of
                                      137



  for evaluating the credibility and recollection ofwitnesses, and to provide leads for the discovery of

  evidence and witnesses to be reviewed, assessed, and admitted in the defense of the City.

          Wherefore, the City demands ajudgment declaring the right to preserve, maintain, and access

  its own records in their entirety regarding the facts and circumstances of Plaintiffs arrest on

  September 28,2007, and the judicial records of Plaintiffs prosecution. In the alternative, the City

  demands dismissal of the claims of municipal liability under state and federal law to which the

  expunged records relate and as to which the privilege of expungement was intended to provide

  Plaintiff a shield but not a sword.

                                         Certificate of Service

          I hereby certify that a true and correct copy of the foregoing was mailed to Gonzalo R. Dorta,
  Esq., GONZALO R. DORTA, P.A., Attorneys for Plaintiff, 334 Minorca Avenue, Coral Gables, FL
  33 134, this 28th day of May, 20 10.
                                                                     William M. Grodnick
                                                                         City Attorney

                                                                     Alan E. Krueger
                                                                  Assistant City Attorney
                                                                      City of Hialeah




                                                                       FBN 151680

 \L10-095 City's Answer & Defenses and Counterclaim
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 110 of
                                      137




               SEQUENTIALLY NUMBERED ALLEGATIONS
        AS SET FORTH IN EX. "A" INCORPORATED BY REFERENCE
    IN PARAGRAPH 22 THROUGH PARAGRAPH 4 OF THE COMPLAINT
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 111 of
                                      137


                                   Sequentially Numbered Allegations
                            As Set Forth in Ex. " A Incorporated by Reference
                          in Paragraph 22 through Paragraph 4 of the Complaint

          [22.1] Please be advised that this firm represents Pedro Santiago Santana arising from the
  wrongful arrest and use of excessive force on our client on September 28,2007, by several police
  officers: Officers - Gutierrez, Badge #1202, Jordan, Badge#1598 and Fritz, Badge #I620 from the
  Hialeah Police Department.

          [22.2] On or about September 28.2007. the prospective defendant officers without any legal
  or just cause brutally assaulted and deployed a taser gun several times on Mr. Santana in their
  attempt to subdue him. [22.3.] The incident in question occurred when Mr. Santana who suffers
  from neurological dysfunction, was experiencing an epileptic seizure had collapsed to the ground
  was unable to respond to the officers commands. [22.4.] When the police officers arrived on the
  scene, Mr. Santiago was still having an epileptic seizure. [22.5.] The officers attempted to subdue
  him by lifting him up from the ground by use of excessive force to hold him and unnecessarily
  deploying their taser X26 stun weapon to control him down.

         [22.6.] This excessive use of force is actionable under Section 1983 of the Federal Civil
  Rights Statute, common law and the City is also vicariously liable for its officers' negligence and
  excessive use of force on my client.

           [22.7.] The police officers were acting under their scope of employment with the City of
  Hialeah ("City") when the incident occurred. [22.8.] These officers did not receive any training or
  if they did, the training was inadequate to educate the officers on how to properly and safely address
  a suspect in epileptic seizure while responding to a simple traffic obstruction complaint.

          [22.9.] My client was experiencing an epileptic attack when the officers sought to control
  him. [22.10.] One in an epileptic seizure cannot control his body movements. [22.11.] Thus, my
  client was unable to control the involuntary movements of his arms. [22.12.] The officers mistakenly
  attributed this behavior to one resisting arrest with violence. [22.13.] When in his epileptic sequence,
  my client also experienced visual and cognitive distortion of perception and began to hallucinate.
  [22.14.] This behavior is classic symptoms [sic] of an epileptic seizure, not a volitional act of
  resisting arrest. [22.15.] My client had been under treatment for his epileptic condition since October
  2004.

          [22.16.] When my client went into his epileptic attack he became combative and non-
  responsive to the officers' commands. [22.17.] Undisputedly. he was in an epileptic episode and the
  officers should have recognized this condition. [22.18.] Furthermore, had the officers been properly
  trained or trained at all on this situation, the obvious signs of his medical condition were apparent
  and needed to be handled accordingly.

         [22.19] The City's officers mistakenly viewed my client's involuntary body movements and
  combative response as a civilian resisting arrest. [22.20] In response, the City's officers tassered [sic]
  him several times and man-handled him. [22.21.] More than one officer subdued my client and did
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 112 of
                                      137


   so by using excessive force when it was unnecessary to do so.

           [22.22.] Consequently. my client was arrested and hospitalized for a period at Jackson
   Memorial Ward, where he was treated for multiple contusions, to his body including multiple taser
   puncher [sic] wounds to front, side and back of his upper torso as well as a right hand sprain with
   hairline fracture to his right hand thumb. [22.23.] These injuries arise not from the use of reasonable
   force.

           [22.24.] The City's Police Department does not provide its officers the necessary training to
   familiarize its patrol officers with the manifestation of physical or neurological induced involuntary
   body movement attributable to a medical condition like the circumstances that the responding
   officers encountered the day in question. [22.25.] These are situations that are clearly foreseeable
   matters that an officer will expect to encounter in his work.

            [22.26.] My client was supposedly obstructing traffic. [22.27.] Clearly not a severe crime.
   [22.28.] Mr. Santiago did not pose an immediate threat to the safety of the officers or others. [22.29.]
   In fact, Mr. Santiago was the only person in need of help. [22.30.] The force used to subdue my
   client was excessive and unreasonable.

           [22.31.] The City has the duty to train and supervise law enforcement officials. [22.32.]When
   the City either persistently fails to do so or shows a deliberate indifference to a policy that is the
   moving force behind the civilian's injuries, the City is liable under Section 1983. [22.33.] The City's
   officers were clearly indifferent to may client's medical needs.

            [22.34.] Mr. Santiago was uncharacteristically walking in the roadway hindering the flow of
   traffic into the parking lot of a small strip center because he was in a seizure episode. [22.35.] The
   City's officers were the ones who picked my client from the ground where he had fallen but only
   after my client had been subjected to several applications of their M26 Taser.

            [22.36.] The use of the taser was excessive and unreasonable under the circumstances.
   [22.37.] It was clear that my client was not in control of his bodily movements and exhibiting
   behavior akin to one undergoing some neurological or medical-related episode. [22.38.] Because of
   his illness, my client was unable to respond to verbal commands. [22.39.] The use of a taser is
   inappropriate when a suspect is nonresponsive due to physical, cognitive or mental illness when the
   condition is clearly manifested by the suspect's conduct. [22.40.] A situation that these officers
   should have been trained how to handle when confronted with it since, it is a foreseeable event in
   the life of an officer.

           [22.41.] A city is responsible to ensure that its police force is adequately train [sic] to deal
   with those in the public who are mentally disturbed or exhibit some other form of medical condition
   or physical impairment. (Russo v. Citv o f Cincinnati, 953 F.2d 1036 (6th Cir. 1992).

          [22.42.] The use of the taser exacerbated the medical condition of my client. [22.43.] It is of
   no consequence that maybe the City's police force does not regularly encounter suspects with
   physical or mental conditions, even though it is highly unlikely that the City's law enforcement
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 113 of
                                      137



  patrol have never encountered suspects with medical or mental impairment. [22.44.] Certainly, the
  situation the officers encountered on this day is one that a police officer can reasonably expect to
  confront. (Brown v.Grav, 227 F.3d 1278 (10th Cir. 2000).

           [22.45.] Therefore, the City showed a deliberate indifference to the constitutional and civil
  rights of those suffering from mental or physical infirmities who because of that impairment, are
  unable to understand or respond to orders and cannot control their actions. [22.46.] These officers
  were not provided sufficient training and education so as to detect signs or behavior attributable to
  a medical condition. [22.47.] As a result of that deficiency, these officers mistakenly treated my
  client as a violent offender and used excessive force to subdue him when in reality, my client needed
  medical care. (22.48.) Instead, he was subjected to several applications of the taser gun under
  circumstances that did not warrant that force. [22.49.] Hence, the City is liable under Section 1983
  for its employee's use of excessive force resulting in the violation of my client's rights under the 4th
  and 14th Amendment [sic] of the U.S. Constitution and his civil rights and constitutional rights
  under state law.

          (22.50.1 Apart from the above theories of recovery, the City is vicariously responsible for its
  officers' failure to use the proper and reasonable force under the circumstances. [22.51.] These
  officers used excessive force and were unreasonably aggressive in their attempt to control my client
  when he was undergoing an epileptic episode. [22.52.] Because of their negligence, my client had
  to be hospitalized for injuries resulting from the officers' negligence in both using excessive force
  and not recognizing or providing the necessary medical care to my client to protect him from
  suffering additional injuries.

          (22.53.) Each officer is liable for his use of excessive force that exceeded the force required
  under the circumstances. [22.54.] Each officer subjected my client to assault and battery in their use
  of unjustifiable and deadly force through their repeated application of the taser gun and repeated
  blows to the body.

         [22.55.] These are the theories and basis of liability asserted by my client against the City
  and the officers.

          (22.56.1 In conclusion, the State Attorney's office decided to drop the action. [22.57.] We
  submit that said decision arose from the clear and irrefutable evidence that my client's actions were
  caused by his epileptic episode and not because he intended to resist arrest or disobey the orders of
  the officers at the scene. [22.58.] We have enclosed some medical records with this notice to better
  acquaint you with the injuries inflicted on my client.

         122.59.1 The aforesaid presuit notice is furthermore supplemented by the following statement
  applicable to the Claimant: The Claimant does not have nor owe any prior adjudicated claim in
  excess of $200, involving fees, fines, penalties, judgments or victim restitution fund.

         [22.60] This letter shall serve as our formal notice under Section 768.28 that our client will
 pursue the theories ofrecovery set out above. [22.61] In providing this notice. the claimant does not
 concede that this notice is a condition precedent to our instituting a claim under Section 1983. &,
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 114 of
                                      137


  Spooner v. Department ofCorrections,State ofFlorida,488 So.2d 897 (Fla 1" DCA 1986); Maggio
  v. Florida Department ofLabor and Emplovment Security, etc., 899 So.2d 1074 (Fla. 2005). [22.62]
  This notice is provided as it pertains to the common law tort actions for which this presuit notice is
  required notwithstanding our intention of pursuing civil statutory and constitution [sic] remedies.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 115 of
                                      137




                          EXHIBIT B
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 116 of
                                      137




                                                  P1 THE CIRCUIT COURT OF
                                                  cmcm OF FLORIDA,'                                                                                       l-
                                                  KN AND FOR MIAMI DADE
                                                              \



  STATE OF l%QIUDA,                               C R M N A L DIVISION
                                                                                    I          "'
                                                                                                   !,:.!.I
                                                                                                          '. ; i' J
                                                                                                                  -9
                                                                                                                  '            ?"   4
                                                                                                                                    :,

                                                                                                                                    . ,-            I
                                                  CASE NO.:
                                                                                    1

                                                  pnX;E:NUSHINSAYmE                     ; ..   .      .      ..        .        .   .
                                                                                                                                                    .-
                                                                                                                                               . .._.
  PWRO SANTlAO,                                                                                                                          ' '
                                                                                                                                                         ..i




         l"EhlCAUSE having mmc on to.beh d before me on January 34.2009 upon a Motiw
  to Expunge certain records of the D e f d t ' s arrest on Sepbanber 28'' 2007, and the
  heard et.$ument of counsel and being otherwise W y advised in the premk, the court
  the h11owing:




                  indictment or infimmtion filed              the Deihdant was dismissed by the
                                                         (I@'
                                                         :!
                  pSCCl.kt0r or thc cowl.

         5.       hat a Certificate of ~ligibility,N + i 7 7 ~ 5 ~ , has           iaredto$m p p ~ a
                  b y t h c F 1 o r i d a D e p a r t m G n t o f L a w ~ tWhereuponitSq
                                                                           .

         0             AMI                        the Motim b Expmge Court Rccq& jq W   (/I                                y
                                                                                                      I
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 117 of
                                      137


                                     TO SW'ITQN943.0585 (2); 943.05!@). F.S., AND F R W 3.692,




                                       Hialeah Police Dcprbnent (armtbg-agency), who wilt comply
                         set forth in section 943.9585, Florida Statutes, and approprhc regulations of
                                        t, and wbo will further forward a copy of this order to any

   a g ~ y ~ ~- p- b m d s n f l s t b a r r r c c i v e d ~ ~ t u i m i n a l b r y r r o o r d ~ o n ; m d i t

   is ftnther

                         AFUD AWUDOED tbat Hiakmh Poiia Departmtnt shall e;rcprmnge all

   informatioa              indicia of arrest or criminal history infomalion re*       this Dcfcndant in

   accordriroe yith t&   procedures set forth in section 943.0585, Florida Statutes, and Florida Rule of

  Criminal W F  ~
             3.692.

          All asts of d a d copies involved Win arc to be borne by the Defaadad

                 ORDElW) in Chambets at Miami, Dade C o w , FloridO on this
           DOME ,*                                                                                    day

   of



                                                 CiRCtTlT COURT

                                              SEND CERT;FIED COPY
   CC: Roberto E.Pattiosra, h.
           st- 4-'s      Mice
           Hialeah P&ct Department
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 118 of
                                      137




                          EXHIBIT C
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 119 of
                                      137
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 120 of
                                      137

                            COMPLAlNTIARREST AFFIDAVIT
                                                                                    ~'
                                                                                    c
                                                                                    c
                                  CONTINUATION
                                         COURTCASE#O.
                                                                         . ..       a
                                                                                    1.
                                                                                    !
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 121 of
                                      137
. .                     . ..
                             .  .                                         .
                                    COMPLAINTiARREST AFFIDAVIT   S

                                          CONTINUATION
                                                JCOCRTWEW
                                                                                      ...            2s3
                                                                                                     .




1.                                                                   IOATVRQ   IJDV    OMISMEII(OR
                                                                                                         -
uP-   C   O   W NAME &n&I,
                       & L(-1                     Cawum-lW
5.                                                                   OhTuRBE   OW      Dm-R              1
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 122 of
                                      137




       Hearing Date: 10/1QEO07
                                          COllRT CASE:


       Courtroom: REGJBJUSTlCE BUILDING, ROOM#:4-8
       Address: 1351 N.W. 12 ST
       Nexl Case:
                                                        -
                                Criminal Justice and Civil Infraction Cases


                                                               WIOI110000
                                                   Hearing Time: 830
                                                                              Warranl Type:
                                                                              Hearing Type: A



       Prevlour Case:
       Judge: REYES. ISRAEL
       Defense Atiomey: PUBUC DEFERDER APWINTMENT, ASSIGN
       Bfile SecUon: FOO1                          Flle W o n : HLE ROOM      Bax Number:   -



       New Search                      Dockets              Mditianat lnfo
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 123 of
                                      137




                          EXHIBIT D
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 124 of
                                      137
                                Golsm
                                                ~

                                                    -
                                          CORAL-FLORIDA
                                                          ~           R AVENUE
                                                                           C           A
                                                                                  33 I 34
                                                                                                      TELEPHONE (
                                                                                                                3
                                                                                                                05
                                                                                                                 -
                                                                                                                     -
                                                                                                                     I




                                                          August 7,2009




   VIA CERTIFIED RETURN
   RECEIPT REQUESTED
   Chief of Police, Mark Overton                                          Mayor Julio Robaina
   55 5 5 East gthAvenue                                                  50 1 Palm Avenue, #A
   Hialeah, Florida 330 13                                                City of Hialeah City Hall
                                                                          Hialeah, Florida 3 30 10
   Kathy McIsaac
   Cambridge Integrated Services Group, h c                               William M. Grodnick, Esquire
   50 1 Palm Ave, 3rdFloor                                                501 Palm Ave
   Hialeah, Florida 33030                                                 Hialeah, Florida 330 10

           Re:     Our ClientsfClaimant:
                   Date of Birth:
                   Social Security No.:
                   Date of Incident:                      September 28,2007
                   Hialeah Police Rpt No.:
                   State Case:



            You have been served with the Plaintiffs statutory notice on June 18,2009. Please preserve
   all clcctronic and written communications, correspondence by and between any City employee or
   official (former or current) and/or with political subdivisions, law enforcement andlor with any other
   person or lawyer relating and/or arising from the incident described in our statutory notice, additional
   copy is enclose for ease of reference.

                                                          Respectfully,

                                                          Dictated but nor read
                                                          TOexpedite delivery
                                                     ,Gpnqlo R Dorta
                                                    c>/..,     .,L.....

                                                    Hy>!'.'::                 ,

   GRD/ml                                        7:,c::,
                                                 .-:i
                                                    .   i, i
                                                               ;';'
                                                                  .       .
   Enclosures
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 125 of
                                      137




                         EXHIBIT E
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 126 of
                                      137

                              C~ONWO                    P.A.
                                                R. DORTA,
                                             ATFORNEVSAT   LAW
                                           334 MINORCAAVENUE
                                        Comu GABLES.
                                                   FLORIDA33134




                                                September 2,2009



   CERTIFLED RETURN RECEIPT
   Certified No. : 70081300000153214878
   City of Hialeah Police Department
   City Clerk's Office
   Attention: B. Ricano
   501 Palm Avenue
   Hialeah, Florida 33010

          Re:     Public Records Request (Ch. 119)
                  Claimant:                                      Pedro Santiago Santana
                  Date of Birth:
                  Social Security No.:
                  Subject Incident /Date of Loss:                September 28,2007
                  Hialeah Police Report Case No.:
                  State Case:

                              PUBLIC RECORDS REQUEST
               TO CITY OF HIALEAH POLICE DEPARTMENT ("DEPARTMENT")

   Dear Records Custodian:

          Please be advised that this firm represents Pedro Santiago Santana (Santana).

          This constitutes our formal Public Records Request under Chapter 119. As such, we
   request that you collect, compile, copy and/or make available for our inspection the following
   public records, so enumerated below, for our inspection and photocopying at a reasonable
   copying charge, special charge or duplication cost as permitted under 01 19.07. If you contend
   that an exemption applies, or so assert same, please specifically state the basis of the
   exemption(s) that you assert against the specific numbered item per the requirements of 5 1 19.07
   F.S.
          We demand and request to inspect the following public records:

                                PUBLIC RECORDS REQUESTED

          1.      All Department memorandums, policy manuals, notices, books, handouts and all
                  other writings that memorialize the Department and/or City's policy to follow by
                  police officers on duty in assessing, detecting, evaluating, intervening and dealing
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 127 of
                                      137




    City of Hialeah Police Department
    September 2, 2009
    Page 2
                                                     /

                        with individuals experiencing mental illness, epileptic attacks, which were in
                        force in the years 2005,2006,2007, 2008. ("Years");

              2.        All course materials and manuals used in the aforesaid Years and in the three (3)
                        prior years for training of recruits and/or used by officers in training in assessing,
                        evaluating, encountering, intervening, evaluating and dealing with persons
                        manifesting epileptic seizures and/or manifesting epileptic conditions.

              3.        All course materials, department standards and policies on the use of force to
                        effectuate an arrest;

              4.        All course materials, manuals, department standards and policies on the use of
                        taser guns from the time taser guns were first used by Department thru current
                        year;

              5.        All close-out memos, internal affairs reports and writings relating to the incident
                        described in the attached Police Report (Exhibit "A");

              6.        All prior administrative complaints, orders of demotions, writings evidencing
                        reprimand, institution of probationary conditions andor implementation of
                        supervising controls over the arresting and lead officer(s) involved in the incident
                        described in the attached Police Report (Exhibit "A");

             7.         All ernails relating, discussing the subject incident;

             8.         The results of all internal or Departmental investigations conducted on the City's
                        police officers that handled the subject incident.

             9.         For the last 5 years, all administrative complaints, internal investigation reports
                        involving the arresting and investigating police officers named in the attached
                        Police Incident Report.

              10.       The results of all physical, mental and medical examination performed on
                        Officers-Gutiemz, Badge # 1202, Jordan, Badge # 1598, and Fritz, Badge #
                        1620, as a condition of their employment and/or as a condition of their pre-
                        employment pursuant to applicable standards governing pre-employment
                        screening, hiring and retention of employees of the City's Police Department
                        andor the City relating to the hiring and retaining of police officers.



                                                         City o f Hialeah Dcpartmurt.l Requeslof Records 8-27-09 mLdoc
   Q:\Company Shred FoldersKanhp, Pedm\Comspandcncc\Lcn~~to
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 128 of
                                      137



   City of Hialeah Police Department
   September 2,2009
   Page 3
                                                       I

               11.        All policies of liability insurance, collective bargaining agreement and all other
                          agreements in effect in 2007, 2008 that insures Hialeah police officers from
                          claims of negligence abuse of force, civil rights and torts.

           You are      put on notice to preserve, in their original form, these requested records, all
   communication recordings with, by and between all officers involved in the subject incident, and
   W h e r preserve and not modify, alter, erase or discard any recordings, e-mails, memos, internal,
   inter and/or intradepartmental memos, e-mails, and written communications relating to the
   subject incident and/or refemng and/or commenting about the police officers involved in the
   subject incident; investigative reports performed or undertaken as a result of prior incidents of
   any kind that involves any of the police officers involved in the subject incident, and all other
   records, personnel or otherwise, involving the police officers involved in the subject incident,
   including all evidentiary and/or physical evidence collected fi-om the subject incident, whether,
   tested, studied and/or reviewed, pursuant to investigative activities undertaken on the subject
   incident.

         Your failure to preserve such records, documents and evidence may expose you andlyour
   Department and City to civil liability.              f9




   GRD/ml

   Enclosures:           Police Repor?




                                                           lo Cily of Hialeah DepalmcnLI Requesl of Records 8-27-09 ml.doc
   Q:Qmpany S h a d Foldcrs&n<igo. Pcdm\Corrcspondcncc\Le~~a
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 129 of
                                      137




                               Police Report
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 130 of
                                      137
     Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 131 of
                                           137

rms)(UUBe .
                                                                              . . ..
                                 COMPLA~NTIARREST AFFIDAVIT                              'C
1.        .+
           I   .
                                        CONTINUATION                                      s:
N b ' )                                       DOURT WEm.                                  1
                                                                                          r
  Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 132 of
                                        137
 . .                      .
                          . ..
                               .                                     ..
."mrsrrucs~-,   .            COMPLAINTIARREST AFFIDAVIT
                                   CONTINUATION           /               b *:*.
                                                                                      ':
                                                                                      -3
                                           CO(RTWE1Q
                                                                                       :
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 133 of
                                      137




                                  Criminal Justice and Civil Infraction Cases
                                             COURT CASE:
       State Cam&                      X                Name:                          008:
       Date Filed: OQ/30/2007                           Date C l W . OOlOOWOOO         Warrad Type:
       Hearlng Date: 10119M007                          Hsarlng Time: 830              Hearing Type: A
       Courtroom: REGJB4USTICE BUILDING, ROOM#:4-8
       Address: 1351 N.W. 12 ST
       Nexl Case:
       Prevlous Case:
       Judge: REYES. ISRAEL
       Defense Atlomev: PUBLIC OEFEQDERAPPOINTMENT. ASSIGN




       New Search                          Dockets                   Addilionat Info
                                                     phler $(ibrdy


                    Home~OnllnaServlas(hkrel~eCMIGpl~1-UI)MLP~~nyIRMy~1O~ITroubhhmSng
                                            EmaR I FAQ ICJIS Hma
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 134 of
                                      137




                           EXHIBIT F
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 135 of
                                      137




                                                            M THE CIRCUIT COURT OF THE 1lTH
                                                            JUDICIAL CIRCUIT      AND FOR
                                                            MIAMI- DADE COUNTY, FLORIDA

                                                            GENERAL JURISDICTION

    PEDRO SANTIAGO,

            PLAINTIFF.



    CITY OF HIALEAH, a Political
    Subdivision of the State of Florida,

            Defendant.
                                               /

                         PLAINTIFF'S FIRST REQUEST FOR PRODUCTION
                              TO DEFENDANT, CITY OF HIALEAH

            COMES NOW, the Plaintiff, PEDRO SANTIAGO, by and through his undersigned

    attorney, pursuant to Rule 1.350, Florida Rules of Civil Procedure, hereby requests that

    Defendant, CITY OF HIALEAH, (hereinafter "CITY"), produce the following documents to

    inspect andlor produce copies of the documents described below, within forty-five (45) days

    after service, hereof, at the Law Office of Gonzalo R. Dorta, P.A., 334 Minorca Avenue, Miami,

    Florida 33 134.

                                       DOCUMENTS REQUESTED

            1.        Produce the personnel file of each individual officer that responded to the incident

    involving the Plaintiff on September 28, 2007 at 2899 West 2"d Avenue, Hialeah, FL (hereinafter

    "Incident").

            2.        Produce all records generated by the City of Hialeah Police Department in

    connection with the incident.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 136 of
                                      137




           3.      Produce all police department manuals, protocols, training manuals, videos, inter-

    ofice memorandums and/or intra-office memorandums, bulletins relating, pertaining, and/or

    training its police officers on the proper use of taser guns.

           4.      Produce all training records, including recommendation certificates, disciplinary

    action records, records of demotion, records of promotion, department and/or training

    evaluations on each of the officers involved in the Incident.

           5.      Produce a copy of the results of all pre-employment medical and/or mental

    examinations performed on each of the officers involved in the Incident.

           6.      Produce a copy of dl reports arising from any internal investigation of the police

    officers behavior, conduct and/or work in connection with the Incident.

           7.      Produce all department manuals, bulletins, books, procedures, memorandurns,

    textbooks, videos, CDs, and all other written materials ever used by the City's Police Department

    to train, educate its police force on how to detect and/or react to suspect's suffering from a

    medical condition, epilepsy, epileptic seizure andlor manifesting neurological, physical andlor

    mental manifestation of an illness, impairment, health condition andlor physical ailment which

    hinders ,and/or prevents the suspect from coherently and responsibly adhering to commands

    and/or directives from the responding andlor arresting officers.

            8.     All training manuals, written materials, department protocols and/or procedures

    on how responding police officers are to approach, treat, react and handle a suspect manifesting a

    seizure, convulsions andlor cardiac arrest or other medical conditions, resulting in uncontrollable

    body movements.
Case 1:10-cv-21747-JAL Document 1-3 Entered on FLSD Docket 05/28/2010 Page 137 of
                                      137




         9.      All forms that the responding police officers involved in this Incident filled out

  andlor signed as a result of their use of a taser gun and/or use of deadly force if such force were

  signed andor filled out or otherwise required by the police department in light of the use of a

  taser gun.

         10.     All manufacturer specification, manuals, written materials describing the type,

  model of taser guns used on the Plaintiff including all maintenance records andor maintenance

  schedules and/or repair records for each taser gun used in the subject Incident.

         11.     All manufacturer and/or distributor provided and/or produced materials on the

  safe use, maintenance and operation of the subject taser guns employed at the scene of the

 Incident.

         12.     All recordings of the complaints, communications, telephonic call to headquarters

  andor to the dispatcher from any customer, citizen andor merchant resulting in the subject

  officers being dispatched to the scene of the Incident.

                                   CERTFIIFICAIT OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed this &

  day of April, 20 10 and served together with the Complaint.

                                                        GONZALO R. DORTA, P.A.




                                                By:

                                                        qorida Bar No. 650269
